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                              Exhibit 11
        State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                          Abbott Laboratories, Inc., et al.

             Exhibit to the Declaration of Nicholas N. Paul in Support of
 Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

___________________________________________
                                            )                 MDL No. 1456
IN RE PHARMACEUTICAL INDUSTRY               )                 Master File No. 01-12257-PBS
AVERAGE WHOLESALE PRICE LITIGATION          )                 Subcategory Case No. 06-11337
___________________________________________)
                                            )                 Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                   )
State of California, ex rel. Ven-A-Care     )                 Magistrate Judge
of the Florida Keys, Inc. v.                )                 Marianne B. Bowler
Abbott Laboratories, Inc., et al.           )
Case No: 1:03-cv-11226-PBS                  )
___________________________________________ )


DECLARATION OF JEFFREY J. LEITZINGER, PH.D., IN SUPPORT OF PLAINTIFFS’
OPPOSITION TO DEFENDANTS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT


              I, Jeffrey J. Leitzinger, do hereby declare as follows:


       1.    I am an economist and President of Econ One Research, Inc., an

economic research and consulting firm.        I have master’s and doctoral degrees in

economics from the University of California at Los Angeles.             I have worked as a

consultant on economic issues over the past 30 years, a significant portion of which has

involved the analysis and calculation of damages. I have personal knowledge of the

matters stated in this declaration, and, if called upon to do so, could competently testify

thereto.

       2.    I have been retained by the California Department of Justice to provide

consulting services in connection with the State of California’s claims against Dey Inc.

and Dey L.P. (collectively “Dey”), Mylan Laboratories, Inc. and Mylan Pharmaceuticals,

Inc. (collectively “Mylan”), and Sandoz, Inc. (“Sandoz”) in the above captioned action,




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State of California, ex rel. Ven-A-Care of the Florida Keys, Inc. v. Abbott Laboratories,

Inc., et al. Attached hereto as Exhibits A, B, and C are true and correct copies of the

June 30, 2009 reports that I prepared for this matter with respect to Dey, Mylan, and

Sandoz, respectively (“my reports”).         My reports accurately detail the analyses and

calculations that I performed in this engagement.

       3.      Dey, Mylan, and Sandoz (hereinafter collectively referred to as

“Defendants”) recently filed a joint brief in support of their motions for partial summary

judgment. That brief contains the following statement: “[t]here is no evidence in the

record to support a claim that California would have ever paid pharmacists less than the

FUL [Federal Upper Limit] if Defendants had reported what California contends were the

‘true’ prices.”1

       4.      Using the same Medi-Cal claims data that I use in my reports to determine

the amount that Medi-Cal actually reimbursed pharmacies for the relevant Defendants’

products (approximately 1.0 million claims for Dey, approximately 14.9 million claims for

Mylan, and approximately 12.8 million claims for Sandoz), I have been asked to

determine the total number of claims for which the reimbursement price per unit was

both less than the FUL and based upon average wholesale price less a statutorily-set

discount (“AWP-based reimbursement”). For those claims within this group for which

the provider’s usual and customary charge to the general public (“billed amount”) was

less than the estimated acquisition cost (“EAC” or “allowed amount”) plus the standard

1
 Defendants’ Joint Brief in Support of Their Motions for Partial Summary Judgment, November 25, 2009,
p. 28.




                                                 -2-
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dispensing fee, I also was asked to determine the number for which that billed amount

was equal to the reimbursement amount.

          5.       I use the variable, “CLM_PMT_CLCTN_DESC” from the Medi-Cal claims

data to determine the basis of claim payment. Following the method employed by

Sandoz’s expert, Dr. Rubinfeld, I treat claim payments indicated as based upon “AWP

Minus Percent Amount” or “EAC Amount” as AWP-based reimbursement.2                                  I have

determined that there are approximately 312,000 claims for which the reimbursement

price per unit was less than the FUL,3 and was based on AWP-based reimbursement. I

also have determined for claims within this group that there are approximately 62,000

claims for which the billed amount4 was less than the allowed amount5 plus the standard

dispensing fee, and was equal to the reimbursement amount.6

          6.       According to these data, therefore, California did pay pharmacists less

than the FUL on many occasions.

                   I declare under penalty of perjury that the foregoing is true and correct.

Executed this 18th day of December 2009 in Los Angeles, California.




                                                                             Jeffrey J. Leitzinger, Ph.D.


2
    See Exhibit D (Expert Report of Daniel L. Rubinfeld, July 30, 2009, pp. 14-15 and Exhibit 2).
3
    As reported in the Medi-Cal formulary file.
4
    Variable named “CLM_BILL_AMT.”
5
    Variable named “CLM_ALOWD_AMT_380.”
6
    Variable named “CLM_REIMBRSMNT_AMT_349.”




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                     EXHIBIT A
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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS


                                CONFIDENTIAL--TO BE FILED UNDER SEAL
                                   SUBJECT TO PROTECTIVE ORDER




      THE STATE OF CALIFORNIA, ex rel. VEN-A-
      CARE OF THE FLORIDA KEYS, INC.,                              MDL No. 1456
                                                                   Master File No. 01-12257-PBS
                                  Plaintiffs,
                         v.

      ABBOTT LABORATORIES, INC., et al.

                                  Defendants.




                  EXPERT REPORT OF JEFFREY J. LEITZINGER, PH.D.--DEY


                                         Econ One Research, Inc.


                                                June 30, 2009



 th
5 Floor th                                                                                   Suite 2825
601 West 5 Street                                                                   Three Allen Center
Los Angeles, California 90071                                                           333 Clay Street
(213) 624-9600                                                                    Houston, Texas 77002
fax (213) 624-6994                                                                       (713) 228-2700
                                                                                     fax (713) 228-3296
Suite 100                                                                                  th
                                                                                               Suite 501
555 University Avenue                                                               805 15 Street, N.W.
Sacramento, California 95825                                                     Washington, D.C. 20005
(916) 576-0366                                                                            (202) 783-7878
fax (916) 576-0365                                                                    fax (202) 289-6452
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I.       Introduction and Qualifications


         1.   I am an economist and President of Econ One Research, Inc., an

economic research and consulting firm with offices in Los Angeles, Sacramento,

Houston, and Washington DC.          I have master’s and doctoral degrees in

economics from UCLA, and a bachelor's degree in economics from Santa Clara

University.

         2.   During the past 30 years of my professional career in economic

research and consulting, I have worked extensively on the analysis and

calculation of damages.     During the past ten years, much of my work has

involved projects in the pharmaceutical industry. In that regard, I frequently have

been asked to analyze economic issues arising in antitrust cases involving direct

purchasers of brand-name drugs who allegedly were overcharged as a result of

impaired generic competition.     Additionally, I have experience in calculating

damages related to the overpayment of Medicaid benefits.

         3.   I have published numerous articles and reports on economic

matters. I have been invited frequently to speak publicly before professional,

trade, and regulatory groups as an economist. Additionally, I have testified as an

expert economist in various State and Federal courts as well as before a number

of regulatory commissions. A detailed summary of my training, past experience,

and prior testimony is shown in Exhibit 1.



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          4.    Econ One is being compensated for the time I spend on this matter

at the rate of $575 per hour. Econ One also is being compensated for the time

spent by research staff on this project based upon contracted hourly rates.



II.       Assignment


          5.    I have been asked to do the following:

                  a.      Determine the amounts (total ingredient costs only) that

                          Medi-Cal1 actually reimbursed on claims by providers for

                          Dey, Inc. and Dey, L.P. (collectively “Dey”) identified

                          pharmaceutical products during the period from January 1,

                          1994 through December 31, 2004.

                  b.      Determine the amounts (total ingredient costs only) that

                          Medi-Cal would have reimbursed if the reported average

                          wholesale prices (“AWPs”) reasonably approximated the

                          actual prices currently paid by the wholesalers’ customers

                          for those products over that same time period, insofar as

                          such prices can be determined from Dey’s business records.

                          This assumes that, if the reported AWPs had been

                          reasonable approximations of the actual prices paid by the

                          wholesalers’ customers, then Medi-Cal would not have


1
    Medi-Cal is California’s Medicaid program.



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                    required any offsets from the reported AWPs (i.e., AWP less

                    5 percent, AWP less 10 percent, AWP less 17 percent).

             c.    Calculate the State's aggregate overpayment (the difference

                    between using (a) and (b) as the basis for payment),

                    excluding overpayments that arise from any and all claims

                    where the reimbursement amount paid by Medi-Cal (total

                    ingredient costs only) was less than 25 percent above the

                    average net price paid by wholesalers to Dey for the relevant

                    pharmaceutical product.

             d.    Determine the total number of individual overpaid claims,

                    i.e., the total number of individual claims paid at an amount

                    where there is: i) a positive difference resulting from the

                    calculation in (c); and ii) which collectively comprise the total

                    overpayments calculated in (c).



III.   Materials Reviewed


       6.   For purposes of this report, my staff and I have reviewed electronic

transaction-level sales data produced by Dey and electronic Medi-Cal pharmacy

claims data produced by the California Department of Health Care Services

(“DHCS”).   In addition, we have reviewed deposition testimony, produced

documents, and pleadings from this (and other related) litigation as well as



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publicly available pharmaceutical industry material. A list of the materials that I

have relied upon is set forth in Exhibit 2.



IV.     Summary of Conclusions


        7.    I have concluded that total overpayments by the State of California

on Medi-Cal reimbursements for Dey identified pharmaceutical products during

the period from January 1, 1994 through December 31, 2004 equal $30.1 million.



V.      Background


        8.    California’s Medicaid program, Medi-Cal, is a public health insurance

program which provides health care services for low-income individuals. As part

of its Medi-Cal program, California reimburses pharmacies and other providers,

such as intermediate care facilities, that dispense prescription drugs to Medi-Cal

participants. The reimbursement to such providers typically consists of two

components--the estimated acquisition cost of the drug product and a standard

dispensing fee.2 The estimated acquisition cost is equal to the lowest of the drug

2
  During much of the period at issue here, the basic reimbursement formula was set forth in
Section 51513 of Title 22 of the California Code of Regulations. Effective September 30,
2002, that formula first was revised by Section 14105.46 of the California Welfare and
Institutions Code. Effective August 16, 2004, that formula again was revised pursuant to
Section 14105.45 of that same Code. At all relevant times, if the providers’ usual and
customary charge to the general public for a prescription was lower than the sum of the
estimated acquisition cost and the standard dispensing fee, the provider only was entitled to its
usual and customary charge.
Effective January 1, 1995, and continuing through August 31, 2004, the total amount payable
to providers under the basic reimbursement formula was reduced by amounts varying from 10
cents to 50 cents per prescription.



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product’s AWP (less a set percentage), Federal Upper Limit (“FUL”), or California

Maximum Allowable Ingredient Cost (“MAIC”).                The set percentage deducted

from AWP in the basic reimbursement formula varied over time. It was 5 percent

from October 16, 1989 through November 30, 2002, 10 percent from December

1, 2002 through August 31, 2004, and 17 percent from September 1, 2004 to

date.3 The standard dispensing fee was $4.05 per prescription until September

2004 when it was raised to $7.25 per prescription (except for prescriptions

dispensed in skilled nursing and intermediate care facilities which were raised to

$8.00 per prescription).4



VI.       Medi-Cal Claims Data


          9.    The data produced by DHCS are pharmacy claims for Medi-Cal’s

fee-for-service program. These data are contained in the Rebate and Accounting

Information System (or RAIS) database which is maintained by DHCS. These

data contain claim lines representing each filled prescription which include,

among other things, the National Drug Code (“NDC”),5 the amount that the State



The various provisions governing the reimbursement amounts paid by Medi-Cal are
summarized in documents titled “California Department of Health Services, Medi-Cal Drug
Rebate/Dispute Resolution Frequently Asked Questions, Rev. 6/09/05.”
3
  California Department of Health Services, Medi-Cal Drug Rebate/Dispute Resolution
Frequently Asked Questions, Rev. 6/09/05; see, also, Deposition of J. Kevin Gorospe, 12/3/08,
Exs. 20, 23, and 26.
4
    Deposition of J. Kevin Gorospe, 12/3/08, Ex. 26.
5
  The NDC is an 11-digit, 3-segment number that uniquely identifies each drug product
distributed in the U.S.



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of California reimbursed the pharmacy, the date of service (the date that the

prescription was filled), and the service quantity (the number of extended units6

that the patient received). Claims for service dates that fall in the range from

September 1, 1993 through December 17, 2004 are included in these data.

       10.     These data include 1,561,917 line entries for all Dey NDCs and

1,153,915 line entries for the 28 relevant7 Dey NDCs (20 products) listed in

Exhibit 3. Of those 1,153,915 line entries, the following entries were excluded

from my analysis.

                 •       Line      entries      that     represent        voids      and       credit

                         adjustments/reversals, along with the corresponding original

                         claim entries and/or debit adjustments (180,452 entries).8

                 •       All line entries that have a service date before January 1,

                         1994 (10 entries).

                 •       All line entries that relate to compound drugs (21 entries).



6
  An extended unit is defined as the most basic unit measure of volume for a given product,
such as a capsule or a gram for drugs sold by weight.
7
   Plaintiffs’ counsel provided me with the list of Dey NDCs that are relevant to this lawsuit in a
file titled “Current NDC Counts 12-2007.xls.” The list includes 32 NDCs, 16 of which relate to
eight products (two for each product) that received a new NDC due to packaging
enhancements.             http://www.dey.com/generics/packagingenhancements/ndcnumber.asp,
accessed 2/11/2008. (See Exhibit 3.) For purposes of this report, I have been instructed to
ignore the four NDCs related to Epipen (49502050001, 49502050002, 49502050101, and
49502050102).
8
  I use the variable “CLM_DISP_CD_816” to identify voids, credit adjustments/reversals, debit
adjustments, and original line entries. I use the variables “CLM_CTRL_NUM_300” and
“PRVS_CLM_CTRL_NUM_817” to link the voids, credit adjustments/reversals, and debit
adjustments with the original line entries. Voids and credit adjustments/reversals that cannot
be linked to an original or debit adjustment line entry are removed from my analysis.



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                  •       All line entries that have a non-positive total ingredient cost

                          (5,468 entries).

                  •       All line entries that have a non-zero third-party payment

                          amount (17,816 entries).

This left 950,148 claims.

         11.    I use these claims to determine the amount that Medi-Cal actually

reimbursed pharmacies for the 20 relevant Dey products.                           The variable

“CLM_REIMBRSMNT_AMT_349” provides the total Medi-Cal reimbursement.

To determine the ingredient cost component of this reimbursement, I subtract the

standard dispensing fee (“CLM_PROFNL_FEE_AMT_381”) from the total

reimbursement amount.9 If CLM_PROFNL_FEE_AMT_381 is reported as zero, I

subtract $4.05 prior to September 1, 2004 and $7.25 ($8.00 for skilled nursing

and intermediate care facilities which are referred to as long-term care claims)

thereafter. I divide the reimbursed ingredient cost by the number of extended

units to get the reimbursed ingredient cost per extended unit. Next, I multiply that

figure by the number of extended units in a package to get the reimbursed

ingredient cost per package.10



9
    Medi-Cal reimburses pharmacies for ingredient costs plus a standard dispensing fee.
10
   For example, Albuterol Sulfate 0.083% (NDC: 49502069760/49502069761) comes in 3
mL/cc vials. An "extended unit" is one mL/cc (Medi-Cal service quantities are measured in
extended units or mL/cc). Each package contains 60 vials or 180 extended units (or 180
mL/cc)--calculated as 60 vials times 3 mL/cc. If a claim has a total reimbursement amount of
$75.19, a dispensing fee of $4.05, and a service quantity of 360, then the reimbursed
ingredient cost per package is calculated as follows: [($75.19-$4.05)/360]x180=$35.57.



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VII.      Dey Transaction Data


         12.    Dey produced electronic transaction-level data reflecting sales of the

20 relevant products from January 2, 1991 through March 30, 2007.11 These

data contain detailed information regarding their transactions with customers

including sales, returns, customer rebates, chargebacks, and other customer

credits. These data also provide the customer’s class of trade (e.g., pharmacy,

wholesaler, hospital).

         13.    In using Dey data to estimate average prices paid by wholesalers’

customers for each product, I begin with the prices that wholesalers12 paid to Dey

for each product. I then apply a wholesaler markup to those prices to estimate

the total amount that was paid to wholesalers by their customers. These two

steps are explained more fully below.

         14.    In calculating a product specific average net price for wholesalers, it

is necessary to take into account certain lump-sum payment adjustments

(effectively, price concessions) that are included in the data for each wholesaler


Prior to October 2002, the Medi-Cal claims processing system could not accept quantities that
were not measured in whole numbers. For products measured in decimals, providers were
instructed to round up to the nearest whole number. For example, Dey’s Metaproterenol 0.6%
Solution and Ipratropium Bromide 0.02% Solution products come in 2.5 mL vials. Providers
would round up to 3 mL when submitting a claim for reimbursement. The reimbursement
amount then was adjusted to reflect the inflated units so that the final amount reimbursed
would be correct. (See Declaration of J. Kevin Gorospe, 12/24/08, ¶¶ 3-4.) For claims with
inflated units, I adjust those units to get the reimbursed ingredient cost per package.
11
     The date ranges vary by product.
12
  I identified wholesalers by selecting those customers that had “Retail Generic Distrib.” or
“Wholesaler” for class of trade in the transaction-level data. I excluded 46 transactions that
were classified as either “Retail Generic Distrib.” or “Wholesaler” that appeared (based on
customer name) to be sales to hospitals or medical centers.



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as chargebacks, rebates, or other credits.13 These adjustments are not linked

within the data to specific product purchases.

      15.     A chargeback occurs when the sale price initially recorded for a

product purchased by a wholesaler exceeds the price at which that manufacturer

has agreed to sell that product to one of the wholesaler’s customers. After the

wholesaler delivers the product to the customer and receives the contractually-

agreed upon payment, the wholesaler then submits a refund claim to the

manufacturer for the difference between its acquisition cost (from the

manufacturer) and its contract price (to the customer).                 After processing the

chargeback claim, the manufacturer then credits that amount to the wholesaler’s

account.

      16.     In the transaction-level data, chargebacks for blocks of past

purchases are recorded, following processing, as lump-sum reductions in the

balance owed by the wholesaler to the manufacturer. They may not appear in

the transaction-level data until several months after the wholesaler purchases

that gave rise to them.

      17.     Rebates and other credits are recorded within the transaction-level

data in a similar fashion--i.e., they involve lump-sum credits corresponding to

prior purchase activity that appear in the data when issued, with no identification

of the prior activity to which they relate.

13
   Returns are dropped from the calculation as they are not always credited at the full current
sale price. Prompt payment discounts also are excluded from the net price calculation.



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         18.     Following a convention used by the U.S. government for Medicare

reimbursement,14 I use average payment adjustment percentages over a rolling

12-month period to account for chargebacks, rebates, and other credits.                              In

particular, to calculate the average net price (for any given product) in a given

quarter,15 I first calculate the average payment adjustment percentage over the

12 months preceding the beginning of the quarter. I then obtain the net price for

that quarter by taking the average gross price16 in the immediately preceding

quarter and reducing it by the average adjustment percentage.17

         19.     After calculating the average net price per package to wholesalers, I

add a wholesaler margin ranging between 3.7 and 5.4 percent18 to arrive at an

estimate of the average wholesale price, i.e., the price that wholesalers’

customers pay.           See column (5) of Exhibit 4 for estimates of the product

specific19 average net quarterly prices paid by the wholesalers’ customers as



14
   See Federal Register, September 16, 2004, Volume 69, Number 179, pp. 55763-55765 for
a description of how to calculate the manufacturer’s average sales price (ASP).
15
     The price is calculated as of the beginning of a quarter.
16
     Calculated as gross revenue divided by units (the number of packages).
17
    For example, in order to calculate the average net price as of the beginning of 2000Q1, I
first aggregate price concessions and gross revenue for January 1, 1999 through December
31, 1999. I then calculate the ratio of price concessions to gross revenue. This ratio then is
used to discount the gross price for 1999Q4. For example, if total price concessions equal
$100 for January 1, 1999 through December 31, 1999 and total gross revenue equals $400 for
that same period, the ratio is 0.25. If the gross price for 1999Q4 is $1.00, then the net price is
$0.75 (calculated as $1.00x(1-0.25)).
18
   Based on data contained in the “Industry Profile and Healthcare Factbook,” Healthcare
Distribution Management Association, various years. See, also, DEY-BO0031296.
19
  Throughout my analysis, I combined the data for the original NDC with the data for the new
NDC for each of the eight products that received new NDCs during the period.



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determined from Dey transaction-level data. Column (4) of Exhibit 4 depicts the

reported AWP, column (6) of Exhibit 4 shows the “spread” (the difference

between the average net quarterly prices I have calculated and the reported

AWP), and column (7) of Exhibit 4 shows the percentage difference between the

average net quarterly prices I have calculated and the reported AWP.



VIII.    Calculation of Overpayments


        20.   To measure overpayments made by the State of California for the 20

relevant Dey products, I first identify those claims for which the actual

reimbursement exceeded the average net price paid by wholesalers to Dey by

more than 25 percent. For each of these claims, I compare the actual ingredient

cost reimbursed (as described above) to an amount that is 25 percent above the

average net price paid by wholesalers to Dey.20                   The difference is the

overpayment.

        21.   For certain product/quarter combinations, there are no transactions

shown in Dey’s data with wholesalers and, hence, there are gaps in my

estimates of quarterly average wholesale prices. To fill in these gaps, I refer

back to those claims for which there is both a reimbursement amount and a

quarterly average wholesale price. I divide total overpayments, as described

above, by actual reimbursements from all of the claim lines for the relevant Dey

20
   For claims with inflated extended units (see footnote 10 above), I adjusted the extended
units to get the correct service quantities.



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products for which I was able to calculate a wholesale price in order to obtain an

average overpayment percentage.21 I then apply this overpayment percentage to

the ingredient cost reimbursement for those claims for which I do not have a

calculated quarterly average wholesale price and add the resulting figures to the

total overpayment amount.

      22.     Based upon this analysis, the total overpayments by the State of

California for all of the 20 relevant Dey products are $30.1 million. That figure, as

well as the overpayment for each product, is depicted in Exhibit 5. Exhibit 6A

graphically summarizes the calculation of overpayments for a particular Dey

product, Cromolyn Nebulizer Solution (NDC: 49502068902/49502068961). This

exhibit depicts the reported AWP, the actual reimbursement amount per

package, and a reimbursement amount that is 25 percent above the net average

price paid by wholesalers to Dey on a per package basis. Exhibit 6B depicts the

actual reimbursement amount and a reimbursement amount that is calculated

using a price that is 25 percent above the net average price that wholesalers paid

to Dey--the difference is the overpayment for the product.

      23.     The methodology set forth above is economically appropriate for

determining losses incurred by Medi-Cal as a direct and proximate result of the

inflated AWPs. I am aware that Dey (or experts working on its behalf) has made


21
   Note, this figure reflects an average overpayment percentage across all relevant Dey claims
(for which I had data), not just those claims that were reimbursed at more than 25 percent
above the price that wholesalers paid to Dey.



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the claim in other cases related to State and Federal reimbursement for its

pharmaceutical products that lower reimbursement amounts for estimated

acquisition (ingredient) costs also would have had certain indirect effects on

program costs.    In particular, I understand that Dey (and its experts) have

claimed that reduced ingredient cost reimbursement would adversely affect

access by program participants to pharmacy services and that this reduction

would, in turn, lead Medi-Cal to increase the standard dispensing fee associated

with reimbursement. As I understand it, whether or not direct losses incurred by

Medi-Cal should be offset by the potential (if any) that accurate ingredient cost

reporting would have had other indirect effects on program costs is, as a

threshold matter, a legal question.

     24.    I may supplement this report should Dey present economic evidence

in this case regarding the likely occurrence of such effects. At this stage, it

seems to me that the requisite economic proof would involve, at minimum,

reasonable, non-speculative evidence that:     1) the standard dispensing fees

associated with Medi-Cal reimbursement during the period in question here did

not cover dispensing costs; 2) reimbursement of ingredient costs at amounts that

were no more than 25 percent above net manufacturer prices to wholesalers,

taken in combination with the standard dispensing fees that were paid during the

period, would not have provided overall reimbursement sufficient to induce

pharmacies to dispense Medi-Cal prescriptions; and 3) the resulting decline in



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the ability of Medi-Cal participants to access prescriptions would have prompted

a decision by Medi-Cal to increase the standard dispensing fee.

         25.   Exhibit 7 depicts the total number of individual overpaid claims which

collectively comprise the total overpayments calculated. Column (3) sets forth

the number of claims for which I had Dey transaction data that allowed me to

calculate a net average price paid by wholesalers to Dey which resulted in a

positive overpayment (i.e., claims in which the actual reimbursement exceeded

the net average price paid by wholesalers to Dey by more than 25 percent).

Column (4) sets forth the number of claims which contribute to my measure of

overpayments for which I do not have a calculated quarterly average wholesale

price.




                                                         ______________________
                                                          Jeffrey J. Leitzinger, Ph.D.
                                                                       June 30, 2009




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                      EXHIBIT B
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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS


                                CONFIDENTIAL--TO BE FILED UNDER SEAL
                                   SUBJECT TO PROTECTIVE ORDER




      THE STATE OF CALIFORNIA, ex rel. VEN-A-
      CARE OF THE FLORIDA KEYS, INC.,                              MDL No. 1456
                                                                   Master File No. 01-12257-PBS
                                  Plaintiffs,
                         v.

      ABBOTT LABORATORIES, INC., et al.

                                  Defendants.




                EXPERT REPORT OF JEFFREY J. LEITZINGER, PH.D.--MYLAN


                                         Econ One Research, Inc.


                                                June 30, 2009



 th
5 Floor th                                                                                   Suite 2825
601 West 5 Street                                                                   Three Allen Center
Los Angeles, California 90071                                                           333 Clay Street
(213) 624-9600                                                                    Houston, Texas 77002
fax (213) 624-6994                                                                       (713) 228-2700
                                                                                     fax (713) 228-3296
Suite 100                                                                                  th
                                                                                               Suite 501
555 University Avenue                                                               805 15 Street, N.W.
Sacramento, California 95825                                                     Washington, D.C. 20005
(916) 576-0366                                                                            (202) 783-7878
fax (916) 576-0365                                                                    fax (202) 289-6452
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I.       Introduction and Qualifications


         1.   I am an economist and President of Econ One Research, Inc., an

economic research and consulting firm with offices in Los Angeles, Sacramento,

Houston, and Washington DC.          I have master’s and doctoral degrees in

economics from UCLA, and a bachelor's degree in economics from Santa Clara

University.

         2.   During the past 30 years of my professional career in economic

research and consulting, I have worked extensively on the analysis and

calculation of damages.     During the past ten years, much of my work has

involved projects in the pharmaceutical industry. In that regard, I frequently have

been asked to analyze economic issues arising in antitrust cases involving direct

purchasers of brand-name drugs who allegedly were overcharged as a result of

impaired generic competition.     Additionally, I have experience in calculating

damages related to the overpayment of Medicaid benefits.

         3.   I have published numerous articles and reports on economic

matters. I have been invited frequently to speak publicly before professional,

trade, and regulatory groups as an economist. Additionally, I have testified as an

expert economist in various State and Federal courts as well as before a number

of regulatory commissions. A detailed summary of my training, past experience,

and prior testimony is shown in Exhibit 1.



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          4.    Econ One is being compensated for the time I spend on this matter

at the rate of $575 per hour. Econ One also is being compensated for the time

spent by research staff on this project based upon contracted hourly rates.



II.       Assignment


          5.    I have been asked to do the following:

                  a.      Determine the amounts (total ingredient costs only) that

                          Medi-Cal1 actually reimbursed on claims by providers for

                          Mylan Laboratories, Inc. and Mylan Pharmaceuticals, Inc.

                          (collectively “Mylan”) identified pharmaceutical products

                          during the period from January 1, 1994 through December

                          31, 2004.

                  b.      Determine the amounts (total ingredient costs only) that

                          Medi-Cal would have reimbursed if the reported average

                          wholesale prices (“AWPs”) reasonably approximated the

                          actual prices currently paid by the wholesalers’ customers

                          for those products over that same time period, insofar as

                          such prices can be determined from Mylan’s business

                          records. This assumes that, if the reported AWPs had been

                          reasonable approximations of the actual prices paid by the


1
    Medi-Cal is California’s Medicaid program.



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                    wholesalers’ customers, then Medi-Cal would not have

                    required any offsets from the reported AWPs (i.e., AWP less

                    5 percent, AWP less 10 percent, AWP less 17 percent).

             c.    Calculate the State's aggregate overpayment (the difference

                    between using (a) and (b) as the basis for payment),

                    excluding overpayments that arise from any and all claims

                    where the reimbursement amount paid by Medi-Cal (total

                    ingredient costs only) was less than 25 percent above the

                    average net price paid by wholesalers to Mylan for the

                    relevant pharmaceutical product.

             d.    Determine the total number of individual overpaid claims,

                    i.e., the total number of individual claims paid at an amount

                    where there is: i) a positive difference resulting from the

                    calculation in (c); and ii) which collectively comprise the total

                    overpayments calculated in (c).



III.   Materials Reviewed


       6.   For purposes of this report, my staff and I have reviewed electronic

transaction-level sales data produced by Mylan and electronic Medi-Cal

pharmacy claims data produced by the California Department of Health Care

Services (“DHCS”).     In addition, we have reviewed deposition testimony,



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produced documents, and pleadings from this (and other related) litigation as

well as publicly available pharmaceutical industry material. A list of the materials

that I have relied upon is set forth in Exhibit 2.



IV.    Summary of Conclusions


       7.    I have concluded that total overpayments by the State of California

on Medi-Cal reimbursements for Mylan identified pharmaceutical products during

the period from January 1, 1994 through December 31, 2004 equal $104.4

million.



V.     Background


       8.    California’s Medicaid program, Medi-Cal, is a public health insurance

program which provides health care services for low-income individuals. As part

of its Medi-Cal program, California reimburses pharmacies and other providers,

such as intermediate care facilities, that dispense prescription drugs to Medi-Cal

participants. The reimbursement to such providers typically consists of two

components--the estimated acquisition cost of the drug product and a standard




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dispensing fee.2 The estimated acquisition cost is equal to the lowest of the drug

product’s AWP (less a set percentage), Federal Upper Limit (“FUL”), or California

Maximum Allowable Ingredient Cost (“MAIC”).                  The set percentage deducted

from AWP in the basic reimbursement formula varied over time. It was 5 percent

from October 16, 1989 through November 30, 2002, 10 percent from December

1, 2002 through August 31, 2004, and 17 percent from September 1, 2004 to

date.3 The standard dispensing fee was $4.05 per prescription until September

2004 when it was raised to $7.25 per prescription (except for prescriptions

dispensed in skilled nursing and intermediate care facilities which were raised to

$8.00 per prescription).4




2
  During much of the period at issue here, the basic reimbursement formula was set forth in
Section 51513 of Title 22 of the California Code of Regulations. Effective September 30,
2002, that formula first was revised by Section 14105.46 of the California Welfare and
Institutions Code. Effective August 16, 2004, that formula again was revised pursuant to
Section 14105.45 of that same Code. At all relevant times, if the providers’ usual and
customary charge to the general public for a prescription was lower than the sum of the
estimated acquisition cost and the standard dispensing fee, the provider only was entitled to its
usual and customary charge.
Effective January 1, 1995, and continuing through August 31, 2004, the total amount payable
to providers under the basic reimbursement formula was reduced by amounts varying from 10
cents to 50 cents per prescription.
The various provisions governing the reimbursement amounts paid by Medi-Cal are
summarized in documents titled “California Department of Health Services, Medi-Cal Drug
Rebate/Dispute Resolution Frequently Asked Questions, Rev. 6/09/05.”
3
  California Department of Health Services, Medi-Cal Drug Rebate/Dispute Resolution
Frequently Asked Questions, Rev. 6/09/05; see, also, Deposition of J. Kevin Gorospe, 12/3/08,
Exs. 20, 23, and 26.
4
    Deposition of J. Kevin Gorospe, 12/3/08, Ex. 26.



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VI.     Medi-Cal Claims Data


        9.     The data produced by DHCS are pharmacy claims for Medi-Cal’s

fee-for-service program. These data are contained in the Rebate and Accounting

Information System (or RAIS) database which is maintained by DHCS. These

data contain claim lines representing each filled prescription which include,

among other things, the National Drug Code (“NDC”),5 the amount that the State

of California reimbursed the pharmacy, the date of service (the date that the

prescription was filled), and the service quantity (the number of extended units6

that the patient received). Claims for service dates that fall in the range from

May 17, 1993 through December 17, 2004 are included in these data.

       10.     These data include 17,691,898 line entries for all Mylan NDCs and

17,687,103 line entries for the 217 relevant7 Mylan NDCs (217 products) listed in

Exhibit 3. Of those 17,687,103 line entries, the following entries were excluded

from my analysis.




5
  The NDC is an 11-digit, 3-segment number that uniquely identifies each drug product
distributed in the U.S.
6
  An extended unit is defined as the most basic unit measure of volume for a given product,
such as a capsule or a gram for drugs sold by weight.
7
  Plaintiffs’ counsel provided me with the list of Mylan NDCs that are relevant to this lawsuit in
a file titled “Current NDC Counts 12-2007.xls.”



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                •       Line     entries      that     represent      voids      and      credit

                        adjustments/reversals, along with the corresponding original

                        claim entries and/or debit adjustments (2,341,444 entries).8

                •       All line entries that have a service date before January 1,

                        1994 (8 entries).

                •       All line entries that relate to compound drugs (696 entries).

                •       All line entries that have a non-positive total ingredient cost

                        (312,336 entries).

                •       All line entries that have a non-zero third-party payment

                        amount (102,471 entries).

                •       All line entries that have a total reimbursement amount that

                        is greater than the billed amount (1 entry).

This left 14,930,147 claims.

       11.    I use these claims to determine the amount that Medi-Cal actually

reimbursed pharmacies for the 217 relevant Mylan products.                       The variable

“CLM_REIMBRSMNT_AMT_349” provides the total Medi-Cal reimbursement.

To determine the ingredient cost component of this reimbursement, I subtract the

standard dispensing fee (“CLM_PROFNL_FEE_AMT_381”) from the total



8
  I use the variable “CLM_DISP_CD_816” to identify voids, credit adjustments/reversals, debit
adjustments, and original line entries. I use the variables “CLM_CTRL_NUM_300” and
“PRVS_CLM_CTRL_NUM_817” to link the voids, credit adjustments/reversals, and debit
adjustments with the original line entries. Voids and credit adjustments/reversals that cannot
be linked to an original or debit adjustment line entry are removed from my analysis.



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reimbursement amount.9 If CLM_PROFNL_FEE_AMT_381 is reported as zero, I

subtract $4.05 prior to September 1, 2004 and $7.25 ($8.00 for skilled nursing

and intermediate care facilities which are referred to as long-term care claims)

thereafter. I divide the reimbursed ingredient cost by the number of extended

units to get the reimbursed ingredient cost per extended unit. Next, I multiply that

figure by the number of extended units in a package to get the reimbursed

ingredient cost per package.10



VII.      Mylan Transaction Data


         12.    Mylan produced electronic transaction-level data reflecting sales of

the 217 relevant products from January 3, 1994 through December 30, 2004.11

These data contain detailed information regarding their transactions with

customers including sales, returns, customer rebates, chargebacks, and other

customer credits. These data also provide the customer’s class of trade (e.g.,

pharmacy, wholesaler, hospital).




9
    Medi-Cal reimburses pharmacies for ingredient costs plus a standard dispensing fee.
10
   For example, Phenytoin Sodium EXT 100 MG capsule (NDC: 00378156010) comes in
1,000-capsule bottles. An “extended unit” is one capsule (Medi-Cal service quantities are
measured in extended units). Each package contains 1,000 extended units. If a claim has a
total reimbursement amount of $93.22, a dispensing fee of $4.05, and a service quantity of
360, then the reimbursed ingredient cost per package is calculated as follows: [($93.22-
$4.05)/360]x1,000=$247.69.
11
     The date ranges vary by product.



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      13.     In using Mylan data to estimate average prices paid by wholesalers’

customers for each product, I begin with the prices that wholesalers12 paid to

Mylan for each product. I then apply a wholesaler markup to those prices to

estimate the total amount that was paid to wholesalers by their customers.

These two steps are explained more fully below.

      14.     In calculating a product specific average net price for wholesalers, it

is necessary to take into account certain lump-sum payment adjustments

(effectively, price concessions) that are included in the data for each wholesaler

as chargebacks, rebates, or other credits.13 These adjustments are not linked

within the data to specific product purchases.

      15.     A chargeback occurs when the sale price initially recorded for a

product purchased by a wholesaler exceeds the price at which that manufacturer

has agreed to sell that product to one of the wholesaler’s customers. After the

wholesaler delivers the product to the customer and receives the contractually-

agreed upon payment, the wholesaler then submits a refund claim to the

manufacturer for the difference between its acquisition cost (from the

manufacturer) and its contract price (to the customer).                 After processing the




12
  I identified wholesalers primarily by selecting those customers that had “AMBULATORY
CARE” for class of trade in the IMPCON transaction data, and “Distributors (non-traditional
wholesalers)” or “Wholesaler” for class of trade in the Ren transaction data.
13
   Returns are dropped from the calculation as they are not always credited at the full current
sale price.



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chargeback claim, the manufacturer then credits that amount to the wholesaler’s

account.

         16.     In the transaction-level data, chargebacks for blocks of past

purchases are recorded, following processing, as lump-sum reductions in the

balance owed by the wholesaler to the manufacturer. They may not appear in

the transaction-level data until several months after the wholesaler purchases

that gave rise to them.

         17.     Rebates and other credits are recorded within the transaction-level

data in a similar fashion--i.e., they involve lump-sum credits corresponding to

prior purchase activity that appear in the data when issued, with no identification

of the prior activity to which they relate.

         18.     Following a convention used by the U.S. government for Medicare

reimbursement,14 I use average payment adjustment percentages over a rolling

12-month period to account for chargebacks, rebates, and other credits.                   In

particular, to calculate the average net price (for any given product) in a given

quarter,15 I first calculate the average payment adjustment percentage over the

12 months preceding the beginning of the quarter. I then obtain the net price for




14
   See Federal Register, September 16, 2004, Volume 69, Number 179, pp. 55763-55765 for
a description of how to calculate the manufacturer’s average sales price (ASP).
15
     The price is calculated as of the beginning of a quarter.




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that quarter by taking the average gross price16 in the immediately preceding

quarter and reducing it by the average adjustment percentage.17

         19.    According to DHCS’s “price spreading” policy, payment for drugs

dispensed is based on a standard package size of 100 tablets or capsules.18

Therefore, once I calculate the average net price for the standard package size

(where available) for each relevant Mylan product, I adjust the average net price

for any non-standard package size.19               For those relevant Mylan products for

which there is no standard package size, I do not make any adjustment.

         20.    After calculating the average net price per package to wholesalers, I

add a wholesaler margin ranging between 3.7 and 5.4 percent20 to arrive at an

estimate of the average wholesale price, i.e., the price that wholesalers’

customers pay. See column (5) of Exhibit 4 for estimates of the product specific


16
     Calculated as gross revenue divided by units (the number of packages).
17
    For example, in order to calculate the average net price as of the beginning of 2000Q1, I
first aggregate price concessions and gross revenue for January 1, 1999 through December
31, 1999. I then calculate the ratio of price concessions to gross revenue. This ratio then is
used to discount the gross price for 1999Q4. For example, if total price concessions equal
$100 for January 1, 1999 through December 31, 1999 and total gross revenue equals $400 for
that same period, the ratio is 0.25. If the gross price for 1999Q4 is $1.00, then the net price is
$0.75 (calculated as $1.00x(1-0.25)).
18
   “If a standard package is commercially available, spread the price from the standard
package size to the other package sizes. . . . price spreading occurs among National Drug
Codes (NDC) for a specific strength and dosage form for specific manufacturer’s drug
product.” OIL # 182-99 (CAAG/DHS-LL0001432-434). See, also, Section 51513 of Title 22 of
the California Code of Regulations.
19
   For example, if the average net price for a 100-tablet bottle is $105, then the average net
price for each extended unit is $1.05. The average net price for a 500-tablet bottle is $525
(calculated as $1.05X500=$525).
20
   Based on data contained in the “Industry Profile and Healthcare Factbook,” Healthcare
Distribution Management Association, various years. See, also, CAMylan 00653157,
CAMylan 00679702-708, CAMylan 00680169, and CAMylan 02055520.



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average net quarterly prices paid by the wholesalers’ customers as determined

from Mylan transaction-level data. Column (4) of Exhibit 4 depicts the reported

AWP, column (6) of Exhibit 4 shows the “spread” (the difference between the

average net quarterly prices I have calculated and the reported AWP), and

column (7) of Exhibit 4 shows the percentage difference between the average net

quarterly prices I have calculated and the reported AWP.



VIII.    Calculation of Overpayments


        21.   To measure overpayments made by the State of California for the

217 relevant Mylan products, I first identify those claims for which the actual

reimbursement exceeded the average net price paid by wholesalers to Mylan by

more than 25 percent. For each of these claims, I compare the actual ingredient

cost reimbursed (as described above) to an amount that is 25 percent above the

average net price paid by wholesalers to Mylan.                      The difference is the

overpayment.

        22.   For certain product/quarter combinations, there are no transactions

shown in Mylan’s data with wholesalers and, hence, there are gaps in my

estimates of quarterly average wholesale prices.21 To fill in these gaps, I refer

back to those claims for which there is both a reimbursement amount and a


21
   For certain product/quarter combinations, the quarterly average wholesale price is negative.
The product/quarter combinations with negative prices are treated the same as the
product/quarter combinations with missing transaction data for purposes of my analysis.



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quarterly average wholesale price. I divide total overpayments, as described

above, by actual reimbursements from all of the claim lines for the relevant Mylan

products for which I was able to calculate a wholesale price in order to obtain an

average overpayment percentage.22 I then apply this overpayment percentage to

the ingredient cost reimbursement for those claims for which I do not have a

calculated quarterly average wholesale price and add the resulting figures to the

total overpayment amount.

      23.    Based upon this analysis, the total overpayments by the State of

California for all of the 217 relevant Mylan products are $104.4 million. That

figure, as well as the overpayment for each product, is depicted in Exhibit 5.

Exhibit 6A graphically summarizes the calculation of overpayments for a

particular Mylan product, Phenytoin Sodium EXT 100 MG (NDC: 00378156001).

This exhibit depicts the reported AWP, the actual reimbursement amount per

package, and a reimbursement amount that is 25 percent above the net average

price paid by wholesalers to Mylan on a per package basis. Exhibit 6B depicts

the actual reimbursement amount and a reimbursement amount that is calculated

using a price that is 25 percent above the net average price that wholesalers paid

to Mylan--the difference is the overpayment for the product.




22
   Note, this figure reflects an average overpayment percentage across all relevant Mylan
claims (for which I had data), not just those claims that were reimbursed at more than 25
percent above the price that wholesalers paid to Mylan.



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     24.    The methodology set forth above is economically appropriate for

determining losses incurred by Medi-Cal as a direct and proximate result of the

inflated AWPs. I am aware that Dey, Inc. and Dey, L.P. (collectively “Dey”) (or

experts working on its behalf) has made the claim in other cases related to State

and Federal reimbursement for its pharmaceutical products that lower

reimbursement amounts for estimated acquisition (ingredient) costs also would

have had certain indirect effects on program costs. In particular, I understand

that Dey (and its experts) have claimed that reduced ingredient cost

reimbursement would adversely affect access by program participants to

pharmacy services and that this reduction would, in turn, lead Medi-Cal to

increase the standard dispensing fee associated with reimbursement.            As I

understand it, whether or not direct losses incurred by Medi-Cal should be offset

by the potential (if any) that accurate ingredient cost reporting would have had

other indirect effects on program costs is, as a threshold matter, a legal question.

     25.    I may supplement this report should Mylan present economic

evidence in this case regarding the likely occurrence of such effects. At this

stage, it seems to me that the requisite economic proof would involve, at

minimum, reasonable, non-speculative evidence that: 1) the standard dispensing

fees associated with Medi-Cal reimbursement during the period in question here

did not cover dispensing costs; 2) reimbursement of ingredient costs at amounts

that were no more than 25 percent above net manufacturer prices to



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wholesalers, taken in combination with the standard dispensing fees that were

paid during the period, would not have provided overall reimbursement sufficient

to induce pharmacies to dispense Medi-Cal prescriptions; and 3) the resulting

decline in the ability of Medi-Cal participants to access prescriptions would have

prompted a decision by Medi-Cal to increase the standard dispensing fee.

         26.   Exhibit 7 depicts the total number of individual overpaid claims which

collectively comprise the total overpayments calculated. Column (3) sets forth

the number of claims for which I had Mylan transaction data that allowed me to

calculate a net average price paid by wholesalers to Mylan which resulted in a

positive overpayment (i.e., claims in which the actual reimbursement exceeded

the net average price paid by wholesalers to Mylan by more than 25 percent).

Column (4) sets forth the number of claims which contribute to my measure of

overpayments for which I do not have a calculated quarterly average wholesale

price.




                                                         ______________________
                                                          Jeffrey J. Leitzinger, Ph.D.
                                                                       June 30, 2009




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                      EXHIBIT C
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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS


                                CONFIDENTIAL--TO BE FILED UNDER SEAL
                                   SUBJECT TO PROTECTIVE ORDER




      THE STATE OF CALIFORNIA, ex rel. VEN-A-
      CARE OF THE FLORIDA KEYS, INC.,                              MDL No. 1456
                                                                   Master File No. 01-12257-PBS
                                  Plaintiffs,
                         v.

      ABBOTT LABORATORIES, INC., et al.

                                  Defendants.




               EXPERT REPORT OF JEFFREY J. LEITZINGER, PH.D.--SANDOZ


                                         Econ One Research, Inc.


                                                June 30, 2009



 th
5 Floor th                                                                                   Suite 2825
601 West 5 Street                                                                   Three Allen Center
Los Angeles, California 90071                                                           333 Clay Street
(213) 624-9600                                                                    Houston, Texas 77002
fax (213) 624-6994                                                                       (713) 228-2700
                                                                                     fax (713) 228-3296
Suite 100                                                                                  th
                                                                                               Suite 501
555 University Avenue                                                               805 15 Street, N.W.
Sacramento, California 95825                                                     Washington, D.C. 20005
(916) 576-0366                                                                            (202) 783-7878
fax (916) 576-0365                                                                    fax (202) 289-6452
     Case 1:01-cv-12257-PBS Document 6791-12 Filed 12/21/09 Page 40 of 98




I.       Introduction and Qualifications


         1.   I am an economist and President of Econ One Research, Inc., an

economic research and consulting firm with offices in Los Angeles, Sacramento,

Houston, and Washington DC.          I have master’s and doctoral degrees in

economics from UCLA, and a bachelor's degree in economics from Santa Clara

University.

         2.   During the past 30 years of my professional career in economic

research and consulting, I have worked extensively on the analysis and

calculation of damages.     During the past ten years, much of my work has

involved projects in the pharmaceutical industry. In that regard, I frequently have

been asked to analyze economic issues arising in antitrust cases involving direct

purchasers of brand-name drugs who allegedly were overcharged as a result of

impaired generic competition.     Additionally, I have experience in calculating

damages related to the overpayment of Medicaid benefits.

         3.   I have published numerous articles and reports on economic

matters. I have been invited frequently to speak publicly before professional,

trade, and regulatory groups as an economist. Additionally, I have testified as an

expert economist in various State and Federal courts as well as before a number

of regulatory commissions. A detailed summary of my training, past experience,

and prior testimony is shown in Exhibit 1.



                                       -1-
    Case 1:01-cv-12257-PBS Document 6791-12 Filed 12/21/09 Page 41 of 98




          4.    Econ One is being compensated for the time I spend on this matter

at the rate of $575 per hour. Econ One also is being compensated for the time

spent by research staff on this project based upon contracted hourly rates.



II.       Assignment


          5.    I have been asked to do the following:

                  a.      Determine the amounts (total ingredient costs only) that

                          Medi-Cal1 actually reimbursed on claims by providers for

                          Sandoz, Inc. (“Sandoz”) identified pharmaceutical products

                          during the period from January 1, 1994 through December

                          31, 2004.

                  b.      Determine the amounts (total ingredient costs only) that

                          Medi-Cal would have reimbursed if the reported average

                          wholesale prices (“AWPs”) reasonably approximated the

                          actual prices currently paid by the wholesalers’ customers

                          for those products over that same time period, insofar as

                          such prices can be determined from Sandoz’s business

                          records. This assumes that, if the reported AWPs had been

                          reasonable approximations of the actual prices paid by the

                          wholesalers’ customers, then Medi-Cal would not have


1
    Medi-Cal is California’s Medicaid program.



                                                 -2-
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                    required any offsets from the reported AWPs (i.e., AWP less

                    5 percent, AWP less 10 percent, AWP less 17 percent).

             c.    Calculate the State's aggregate overpayment (the difference

                    between using (a) and (b) as the basis for payment),

                    excluding overpayments that arise from any and all claims

                    where the reimbursement amount paid by Medi-Cal (total

                    ingredient costs only) was less than 25 percent above the

                    average net price paid by wholesalers to Sandoz for the

                    relevant pharmaceutical product.

             d.    Determine the total number of individual overpaid claims,

                    i.e., the total number of individual claims paid at an amount

                    where there is: i) a positive difference resulting from the

                    calculation in (c); and ii) which collectively comprise the total

                    overpayments calculated in (c).



III.   Materials Reviewed


       6.   For purposes of this report, my staff and I have reviewed electronic

transaction-level sales data produced by Sandoz and electronic Medi-Cal

pharmacy claims data produced by the California Department of Health Care

Services (“DHCS”).     In addition, we have reviewed deposition testimony,

produced documents, and pleadings from this (and other related) litigation as



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well as publicly available pharmaceutical industry material. A list of the materials

that I have relied upon is set forth in Exhibit 2.



IV.     Summary of Conclusions


        7.    I have concluded that total overpayments by the State of California

on Medi-Cal reimbursements for Sandoz identified pharmaceutical products

during the period from January 1, 1994 through December 31, 2004 equal

$142.6 million.



V.      Background


        8.    California’s Medicaid program, Medi-Cal, is a public health insurance

program which provides health care services for low-income individuals. As part

of its Medi-Cal program, California reimburses pharmacies and other providers,

such as intermediate care facilities, that dispense prescription drugs to Medi-Cal

participants. The reimbursement to such providers typically consists of two

components--the estimated acquisition cost of the drug product and a standard

dispensing fee.2 The estimated acquisition cost is equal to the lowest of the drug


2
  During much of the period at issue here, the basic reimbursement formula was set forth in
Section 51513 of Title 22 of the California Code of Regulations. Effective September 30,
2002, that formula first was revised by Section 14105.46 of the California Welfare and
Institutions Code. Effective August 16, 2004, that formula again was revised pursuant to
Section 14105.45 of that same Code. At all relevant times, if the providers’ usual and
customary charge to the general public for a prescription was lower than the sum of the
estimated acquisition cost and the standard dispensing fee, the provider only was entitled to its
usual and customary charge.



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product’s AWP (less a set percentage), Federal Upper Limit (“FUL”), or California

Maximum Allowable Ingredient Cost (“MAIC”).                The set percentage deducted

from AWP in the basic reimbursement formula varied over time. It was 5 percent

from October 16, 1989 through November 30, 2002, 10 percent from December

1, 2002 through August 31, 2004, and 17 percent from September 1, 2004 to

date.3 The standard dispensing fee was $4.05 per prescription until September

2004 when it was raised to $7.25 per prescription (except for prescriptions

dispensed in skilled nursing and intermediate care facilities which were raised to

$8.00 per prescription).4



VI.       Medi-Cal Claims Data


          9.    The data produced by DHCS are pharmacy claims for Medi-Cal’s

fee-for-service program. These data are contained in the Rebate and Accounting

Information System (or RAIS) database which is maintained by DHCS. These

data contain claim lines representing each filled prescription which include,




Effective January 1, 1995, and continuing through August 31, 2004, the total amount payable
to providers under the basic reimbursement formula was reduced by amounts varying from 10
cents to 50 cents per prescription.
The various provisions governing the reimbursement amounts paid by Medi-Cal are
summarized in documents titled “California Department of Health Services, Medi-Cal Drug
Rebate/Dispute Resolution Frequently Asked Questions, Rev. 6/09/05.”
3
  California Department of Health Services, Medi-Cal Drug Rebate/Dispute Resolution
Frequently Asked Questions, Rev. 6/09/05; see, also, Deposition of J. Kevin Gorospe, 12/3/08,
Exs. 20, 23, and 26.
4
    Deposition of J. Kevin Gorospe, 12/3/08, Ex. 26.



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among other things, the National Drug Code (“NDC”),5 the amount that the State

of California reimbursed the pharmacy, the date of service (the date that the

prescription was filled), and the service quantity (the number of extended units6

that the patient received). Claims for service dates that fall in the range from

November 12, 1993 through December 17, 2004 are included in these data.

       10.    These data include 14,907,164 line entries for all Sandoz NDCs, all

of which are for the 149 relevant7 Sandoz NDCs (149 products) listed in Exhibit

3. Of those 14,907,164 line entries, the following entries were excluded from my

analysis.

                •       Line      entries      that     represent       voids      and      credit

                        adjustments/reversals, along with the corresponding original

                        claim entries and/or debit adjustments (1,811,373 entries).8

                •       All line entries that have a service date before January 1,

                        1994 (2 entries).

                •       All line entries that relate to compound drugs (1,125 entries).



5
  The NDC is an 11-digit, 3-segment number that uniquely identifies each drug product
distributed in the U.S.
6
  An extended unit is defined as the most basic unit measure of volume for a given product,
such as a capsule or a gram for drugs sold by weight.
7
  Plaintiffs’ counsel provided me with the list of Sandoz NDCs that are relevant to this lawsuit
in a file titled “Current NDC Counts 12-2007.xls.”
8
  I use the variable “CLM_DISP_CD_816” to identify voids, credit adjustments/reversals, debit
adjustments, and original line entries. I use the variables “CLM_CTRL_NUM_300” and
“PRVS_CLM_CTRL_NUM_817” to link the voids, credit adjustments/reversals, and debit
adjustments with the original line entries. Voids and credit adjustments/reversals that cannot
be linked to an original or debit adjustment line entry are removed from my analysis.



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                  •       All line entries that have a non-positive total ingredient cost

                          (198,432 entries).

                  •       All line entries that have a non-zero third-party payment

                          amount (81,274 entries).

This left 12,814,958 claims.

         11.    I use these claims to determine the amount that Medi-Cal actually

reimbursed pharmacies for the 149 relevant Sandoz products.                       The variable

“CLM_REIMBRSMNT_AMT_349” provides the total Medi-Cal reimbursement.

To determine the ingredient cost component of this reimbursement, I subtract the

standard dispensing fee (“CLM_PROFNL_FEE_AMT_381”) from the total

reimbursement amount.9 If CLM_PROFNL_FEE_AMT_381 is reported as zero, I

subtract $4.05 prior to September 1, 2004 and $7.25 ($8.00 for skilled nursing

and intermediate care facilities which are referred to as long-term care claims)

thereafter. I divide the reimbursed ingredient cost by the number of extended

units to get the reimbursed ingredient cost per extended unit. Next, I multiply that

figure by the number of extended units in a package to get the reimbursed

ingredient cost per package.10



9
    Medi-Cal reimburses pharmacies for ingredient costs plus a standard dispensing fee.
10
   For example, Methylphenidate 10 MG tablet (NDC: 00781174901) comes in 100-tablet
bottles. An “extended unit” is one tablet (Medi-Cal service quantities are measured in
extended units). Each package contains 100 extended units. If a claim has a total
reimbursement amount of $27.69, a dispensing fee of $4.05, and a service quantity of 60, then
the reimbursed ingredient cost per package is calculated as follows:                [($27.69-
$4.05)/60]x100=$39.40.



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VII.      Sandoz Transaction Data


         12.    Sandoz produced electronic transaction-level data reflecting sales of

the 149 relevant products from January 2, 1996 through December 24, 2004.11

These data contain detailed information regarding their transactions with

customers including sales, returns, customer rebates, chargebacks, and other

customer credits. These data also provide the customer’s class of trade (e.g.,

pharmacy, wholesaler, hospital).

         13.    In using Sandoz data to estimate average prices paid by

wholesalers’ customers for each product, I begin with the prices that

wholesalers12 paid to Sandoz for each product. I then apply a wholesaler markup

to those prices to estimate the total amount that was paid to wholesalers by their

customers. These two steps are explained more fully below.

         14.    In calculating a product specific average net price for wholesalers, it

is necessary to take into account certain lump-sum payment adjustments

(effectively, price concessions) that are included in the data for each wholesaler

as chargebacks, rebates, or other credits.13 These adjustments are not linked

within the data to specific product purchases.




11
     The date ranges vary by product.
12
   I identified wholesalers by selecting those customers that had “004” for class of trade in the
AS400 transaction data and “Distributor,” “Distributors,” or “Wholesalers” for class of trade in
the SAP transaction data.
13
   Returns are dropped from the calculation as they are not always credited at the full current
sale price.



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      15.    A chargeback occurs when the sale price initially recorded for a

product purchased by a wholesaler exceeds the price at which that manufacturer

has agreed to sell that product to one of the wholesaler’s customers. After the

wholesaler delivers the product to the customer and receives the contractually-

agreed upon payment, the wholesaler then submits a refund claim to the

manufacturer for the difference between its acquisition cost (from the

manufacturer) and its contract price (to the customer).           After processing the

chargeback claim, the manufacturer then credits that amount to the wholesaler’s

account.

      16.    In the transaction-level data, chargebacks for blocks of past

purchases are recorded, following processing, as lump-sum reductions in the

balance owed by the wholesaler to the manufacturer. They may not appear in

the transaction-level data until several months after the wholesaler purchases

that gave rise to them.

      17.    Rebates and other credits are recorded within the transaction-level

data in a similar fashion--i.e., they involve lump-sum credits corresponding to

prior purchase activity that appear in the data when issued, with no identification

of the prior activity to which they relate.

      18.    Following a convention used by the U.S. government for Medicare

reimbursement,14 I use average payment adjustment percentages over a rolling

14
   See Federal Register, September 16, 2004, Volume 69, Number 179, pp. 55763-55765 for
a description of how to calculate the manufacturer’s average sales price (ASP).



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12-month period to account for chargebacks, rebates, and other credits.                              In

particular, to calculate the average net price (for any given product) in a given

quarter,15 I first calculate the average payment adjustment percentage over the

12 months preceding the beginning of the quarter. I then obtain the net price for

that quarter by taking the average gross price16 in the immediately preceding

quarter and reducing it by the average adjustment percentage.17

         19.     According to DHCS’s “price spreading” policy, payment for drugs

dispensed is based on a standard package size of 100 tablets or capsules.18

Therefore, once I calculate the average net price for the standard package size

(where available) for each relevant Sandoz product, I adjust the average net

price for any non-standard package size.19 For those relevant Sandoz products

for which there is no standard package size, I do not make any adjustment.




15
     The price is calculated as of the beginning of a quarter.
16
     Calculated as gross revenue divided by units (the number of packages).
17
    For example, in order to calculate the average net price as of the beginning of 2000Q1, I
first aggregate price concessions and gross revenue for January 1, 1999 through December
31, 1999. I then calculate the ratio of price concessions to gross revenue. This ratio then is
used to discount the gross price for 1999Q4. For example, if total price concessions equal
$100 for January 1, 1999 through December 31, 1999 and total gross revenue equals $400 for
that same period, the ratio is 0.25. If the gross price for 1999Q4 is $1.00, then the net price is
$0.75 (calculated as $1.00x(1-0.25)).
18
   “If a standard package is commercially available, spread the price from the standard
package size to the other package sizes. . . . price spreading occurs among National Drug
Codes (NDC) for a specific strength and dosage form for specific manufacturer’s drug
product.” OIL # 182-99 (CAAG/DHS-LL0001432-434). See, also, Section 51513 of Title 22 of
the California Code of Regulations.
19
   For example, if the average net price for a 100-tablet bottle is $105, then the average net
price for each extended unit is $105. The average net price for a 500-tablet bottle is $525
(calculated as $1.05X500=$525).



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        20.   After calculating the average net price per package to wholesalers, I

add a wholesaler margin ranging between 3.7 and 5.4 percent20 to arrive at an

estimate of the average wholesale price, i.e., the price that wholesalers’

customers pay. See column (5) of Exhibit 4 for estimates of the product specific

average net quarterly prices paid by the wholesalers’ customers as determined

from Sandoz transaction-level data. Column (4) of Exhibit 4 depicts the reported

AWP, column (6) of Exhibit 4 shows the “spread” (the difference between the

average net quarterly prices I have calculated and the reported AWP), and

column (7) of Exhibit 4 shows the percentage difference between the average net

quarterly prices I have calculated and the reported AWP.



VIII.    Calculation of Overpayments


        21.   To measure overpayments made by the State of California for the

149 relevant Sandoz products, I first identify those claims for which the actual

reimbursement exceeded the average net price paid by wholesalers to Sandoz

by more than 25 percent.         For each of these claims, I compare the actual

ingredient cost reimbursed (as described above) to an amount that is 25 percent

above the average net price paid by wholesalers to Sandoz. The difference is

the overpayment.


20
   Based on data contained in the “Industry Profile and Healthcare Factbook,” Healthcare
Distribution Management Association, various years. See, also, SANDOZ WISC 0075546-554
and SANDOZ WISC 0083535-538.



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      22.     For certain product/quarter combinations, there are no transactions

shown in Sandoz’s data with wholesalers and, hence, there are gaps in my

estimates of quarterly average wholesale prices.21 To fill in these gaps, I refer

back to those claims for which there is both a reimbursement amount and a

quarterly average wholesale price. I divide total overpayments, as described

above, by actual reimbursements from all of the claim lines for the relevant

Sandoz products for which I was able to calculate a wholesale price in order to

obtain an average overpayment percentage.22 I then apply this overpayment

percentage to the ingredient cost reimbursement for those claims for which I do

not have a calculated quarterly average wholesale price and add the resulting

figures to the total overpayment amount.

      23.     Based upon this analysis, the total overpayments by the State of

California for all of the 149 relevant Sandoz products are $142.6 million. That

figure, as well as the overpayment for each product, is depicted in Exhibit 5.

Exhibit 6A graphically summarizes the calculation of overpayments for a

particular    Sandoz       product,     Chlorpromazine         100     MG     tablets     (NDC:

00781171801). This exhibit depicts the reported AWP, the actual reimbursement

amount per package, and a reimbursement amount that is 25 percent above the

21
   For certain product/quarter combinations, the quarterly average wholesale price is negative.
The product/quarter combinations with negative prices are treated the same as the
product/quarter combination with missing transaction data for purposes of my analysis.
22
   Note, this figure reflects an average overpayment percentage across all relevant Sandoz
claims (for which I had data), not just those claims that were reimbursed at more than 25
percent above the price that wholesalers paid to Sandoz.



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net average price paid by wholesalers to Sandoz on a per package basis.

Exhibit 6B depicts the actual reimbursement amount and a reimbursement

amount that is calculated using a price that is 25 percent above the net average

price that wholesalers paid to Sandoz--the difference is the overpayment for the

product.

     24.    The methodology set forth above is economically appropriate for

determining losses incurred by Medi-Cal as a direct and proximate result of the

inflated AWPs. I am aware that Dey, Inc. and Dey, L.P. (collectively “Dey”) (or

experts working on its behalf) has made the claim in other cases related to State

and Federal reimbursement for its pharmaceutical products that lower

reimbursement amounts for estimated acquisition (ingredient) costs also would

have had certain indirect effects on program costs. In particular, I understand

that Dey (and its experts) have claimed that reduced ingredient cost

reimbursement would adversely affect access by program participants to

pharmacy services and that this reduction would, in turn, lead Medi-Cal to

increase the standard dispensing fee associated with reimbursement.            As I

understand it, whether or not direct losses incurred by Medi-Cal should be offset

by the potential (if any) that accurate ingredient cost reporting would have had

other indirect effects on program costs is, as a threshold matter, a legal question.

     25.    I may supplement this report should Sandoz present economic

evidence in this case regarding the likely occurrence of such effects. At this



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stage, it seems to me that the requisite economic proof would involve, at

minimum, reasonable, non-speculative evidence that: 1) the standard dispensing

fees associated with Medi-Cal reimbursement during the period in question here

did not cover dispensing costs; 2) reimbursement of ingredient costs at amounts

that were no more than 25 percent above net manufacturer prices to

wholesalers, taken in combination with the standard dispensing fees that were

paid during the period, would not have provided overall reimbursement sufficient

to induce pharmacies to dispense Medi-Cal prescriptions; and 3) the resulting

decline in the ability of Medi-Cal participants to access prescriptions would have

prompted a decision by Medi-Cal to increase the standard dispensing fee.

         26.   Exhibit 7 depicts the total number of individual overpaid claims which

collectively comprise the total overpayments calculated. Column (3) sets forth

the number of claims for which I had Sandoz transaction data that allowed me to

calculate a net average price paid by wholesalers to Sandoz which resulted in a

positive overpayment (i.e., claims in which the actual reimbursement exceeded

the net average price paid by wholesalers to Sandoz by more than 25 percent).

Column (4) sets forth the number of claims which contribute to my measure of

overpayments for which I do not have a calculated quarterly average wholesale

price.


                                                         ______________________
                                                          Jeffrey J. Leitzinger, Ph.D.
                                                                       June 30, 2009


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                     EXHIBIT D
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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSSETTS


____________________________________
                                          )
IN RE: PHARMACEUTICAL                     )
INDUSTRY AVERAGE                          )
WHOLESALE PRICE LITIGATION                )      MDL Docket No. 1456
                                          )
                                          )
 THIS DOCUMENT RELATES TO:                )
                                          )
State of California ex-rel. Ven-A-Care v. )
Abbott Laboratories, et al.               )
03-CV-11226-PBS                           )
                                          )
____________________________________)




                EXPERT REPORT OF DANIEL L. RUBINFELD



                                  JULY 30, 2009




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I. INTRODUCTION
   A. Qualifications
1. I am the Robert L. Bridges Professor of Law and Professor of Economics at the
University of California, Berkeley. I served as Deputy Assistant Attorney General at the
Antitrust Division of the U.S. Department of Justice from June 1997 through December
1998. In that position, I was responsible for supervising a staff of approximately 70
Ph.D. economists, financial analysts, and research assistants with respect to a wide range
of antitrust matters, including monopolization, price fixing, and other restraints of trade.

2. I received my A.B. degree in mathematics from Princeton in 1967 and my Ph.D. in
economics from M.I.T. in 1972. I have previously taught at the University of Michigan
and have been a Visiting Professor at the law schools of Stanford University, the
University of Geneva, the University of Hamburg (on several occasions), the University
of Virginia, Catholica University of Lisbon, the University of Bergen, and New York
University (on numerous occasions). During the summer of 2003, at the invitation of the
Federal Trade Commission, I offered a mini-course on antitrust economics to staff
attorneys.

3. I am the author of two textbooks, Microeconomics and Econometric Models and
Economic Forecasts (both with Robert Pindyck). I have received fellowships from the
National Bureau of Economic Research, the John M. Guggenheim Foundation, and the
Center for Advanced Studies in the Behavioral Sciences. I am a past President of the
American Law and Economics Association. I am a current Fellow of the American
Academy of Arts and Sciences and a fellow of the National Bureau of Economic
Research.

4. My research interests have spanned a range of subject matters, including industrial
organization and antitrust policy, public economics, the economics of legal rules and
institutions, and law and statistics. I have published or edited seven books and over 100
articles. I have consulted and testified extensively on antitrust, intellectual property,
public regulation, and damages issues, for private parties and for the U.S. Department of
Justice, the Federal Trade Commission, the U.S. Treasury, and various State Attorney



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Generals. My public and private consulting experience includes substantial work relating
to the pharmaceutical industry.

5. My teaching interests include antitrust, quantitative methods in law, the economics of
legal rules and institutions, economics and public policy. I have served on a number of
occasions as a lecturer for the Federal Judicial Center concerning the use of statistical
methods by the courts.

6. A current copy of my curriculum vitae is included as Attachment 1. A list of prior
testifying experience is included as Attachment 2.

7. I am currently being compensated for my work in this case at the hourly rate of $975.
I have no financial interest in the outcome of this matter.

     B. Allegations
8. The State of California and a qui tam plaintiff, Ven-A-Care of the Florida Keys, Inc.
(collectively, “Plaintiffs”) allege that the “Defendants defrauded the Medicaid Program
of the State of California (known as ‘Medi-Cal’) by reporting excessively high and false
prices for some of their prescription drugs with knowledge that Medi-Cal used these
reported prices for establishing reimbursement to its Medi-Cal providers for these drugs.”
Specifically, Plaintiffs allege that Defendants “reported or caused to be reported false or
misleading prices to Medi-Cal by providing false or misleading price information...to the
[pricing] compendia including [First DataBank] with knowledge that they [the
compendia] in turn would utilize such false and misleading price information in
determining the [Average Wholesale Price] and [Direct Price] that were reported to
Medi-Cal.”1

9. As a consequence, Plaintiffs allege that “Medi-Cal sustained significant losses to its
program by making payments for the drugs at illegally excessive prices compared to the
prices at which the Medi-Cal providers actually acquired the same drugs.” Plaintiffs
further allege that the “spread” between the reimbursement payments and the actual




1
  See First Amended Complaint in Intervention for Money Damages and Civil Penalties for Violations of
the California False Claims Act, August 24, 2005 (hereinafter “First Amended Complaint”), pp. 1, 12-13.

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acquisition costs of drugs was used by Defendants to “seize market share and thereby to
fraudulently increase their profits.”2

10. Defendant Sandoz Inc. is a pharmaceutical firm that develops, produces, and
distributes generic drugs in the U.S. Prior to 2003, Sandoz Inc. was known as Geneva
Pharmaceuticals, Inc. In this report, I use “Sandoz” to refer to both entities.

11. Plaintiffs are seeking treble damages, and up to $10,000 for each allegedly false
Medi-Cal reimbursement claim. Although the allegations in the First Amended
Complaint specific to Sandoz cover the period from January 1, 1994 through the present,3
I understand that Plaintiffs are seeking damages on prescription claims for the period
covering January 1, 1994 through December 31, 2004.4

12. I understand further that there are 149 Sandoz drugs, identified by their unique
eleven-digit National Drug Codes (“NDCs”), which are covered in the First Amended
Complaint5 and that the relevant Medi-Cal reimbursement claims on which Plaintiffs are
entitled to seek damages include only those claims covered under Medi-Cal’s fee-for-
service plan.6 On March 22, 2007, the District Court dismissed the First Amended
Complaint as it relates to drugs reimbursed based on California’s Maximum Allowable
Ingredient Cost (“MAIC”) methodology.7 Exhibit 1 shows a list of the top 25 Sandoz
NDCs reimbursed by Medi-Cal that are at issue in this case.

     C. Assignment
13. I have been asked by Counsel for Sandoz to evaluate various economic issues that
flow from Plaintiffs’ allegations.

14. Specifically, I have been asked to review the basis used by the State of California for
reimbursing Medi-Cal claims for Sandoz drugs, and to evaluate the extent to which the


2
  First Amended Complaint, p. 1.
3
  First Amended Complaint, p. 40.
4
  Expert Report of Jeffrey J. Leitzinger, Ph.D.–Sandoz, June 30, 2009 (hereinafter “Leitzinger Report”), p.
2.
5
  First Amended Complaint, Exhibit D.
6
  Medi-Cal is administered through both a fee-for-service and a managed care plan. See Memorandum and
Order in re Pharmaceutical Industry Average Wholesale Price Litigation, State of California vs. Abbott
Laboratories, March 22, 2007.
7
  Memorandum and Order in re Pharmaceutical Industry Average Wholesale Price Litigation, State of
California vs. Abbott Laboratories, March 22, 2007, p. 32.

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state used prices provided by Sandoz in reimbursing Sandoz pharmaceuticals products at
issue in this case.

15. In addition, I have been asked to evaluate the information available to the State of
California regarding the relationship between benchmark prices and pharmacy
acquisition costs. As part of this analysis, I have been asked to consider the relationship
between pharmacy acquisition costs and dispensing costs in the context of patient access
to Medi-Cal pharmacy services.

16. Furthermore, I have been asked to discuss the economic issues related to the use of
benchmark and list prices used in the pharmaceutical industry.

17. Lastly, I have been asked to offer a critique of the damages calculations put forth by
Plaintiffs’ damages expert, Dr. Jeffrey Leitzinger.

18. A list of the materials that I considered in forming my opinions is included as
Attachment 3. I reserve the right to revise or supplement my opinions should additional
information become available. I note in particular that at the point I am filing this report,
counsel for Defendants have not had the opportunity to depose Dr. Leitzinger.

    D. Summary of Conclusions
19. AWP is a benchmark price. Sandoz sets AWP with the primary goal of earning a
generic designation from First DataBank. When Sandoz is the first generic entrant, it
typically sets AWP at slightly less than 90% of the corresponding branded drug’s AWP.
When Sandoz is not the first entrant, it typically sets AWP in line with existing generic
competitors.

20. WAC is a list price. WAC is the invoice price at which Sandoz sells to wholesalers.
It is also the price paid by non-contract customers. List prices are common in many
industries, including sticker prices for cars, rack rates for hotel rooms, and cover prices
for magazines and newspapers.

21. There has been widespread information available to Medi-Cal officials since at least
1985 making it clear that AWP was not a measure of pharmacy acquisition cost. Medi-
Cal officials and other California policymakers testified that they were well aware that
acquisition costs were below AWP.

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22. The majority of claims for Sandoz drugs reimbursed by Medi-Cal were not paid
based on Sandoz reported prices. Over 74 percent of claims were paid based on the FUL
and another 12 percent based on pharmacies’ usual and customary charges. Only 9
percent of claims were reimbursed based on discounted AWP.

23. Profitability is an important component of pharmacies’ decisions to participate in the
Medi-Cal program. The profitability of servicing Medi-Cal recipients depends on both
the ingredient cost reimbursement and the dispensing fee paid by Medi-Cal. Absent
sufficient profitability, pharmacies would not participate in the program.

24. A variety of evidence demonstrates that Medi-Cal’s dispensing fee does not cover the
dispensing costs of many California pharmacies. This shortfall is particularly significant
for low-cost generic drugs. Positive margins on ingredient costs can make up for
shortfalls on the dispensing fee side.

25. In Dr. Leitzinger’s but-for world, Medi-Cal would reimburse California pharmacies
based on average pharmacy acquisition cost. This would ensure that many California
pharmacies with above average acquisition costs would lose money, even before
accounting for any dispensing fee shortfall. My analysis suggests that, depending on the
interpretation of Dr. Leitzinger’s but-for world, from 31 to 62 percent of California
pharmacies would lose money on Sandoz drugs reimbursed by Medi-Cal, even before
accounting for any dispensing fee shortfall.

26. Dr. Leitzinger’s calculated “overpayment” is fundamentally flawed as a measure of
the alleged injury suffered by the State of California. His analysis fails to consider
several issues critical to the proper calculation of damages.

           •   He only considers the ingredient cost reimbursement and does not
               consider whether Medi-Cal’s dispensing fee is adequate to cover
               pharmacies’ dispensing costs.
           •   He fails to consider variations in acquisition costs across pharmacies. In
               fact, as noted above, Dr. Leitzinger’s but-for world would ensure that
               many pharmacies would lose money dispensing Sandoz prescriptions to
               Medi-Cal recipients.
           •   He fails to consider alternate reimbursement methodologies that were
               considered and rejected by Medi-Cal during the relevant period.


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            •    He makes a variety of other methodological errors that substantially inflate
                 his damages estimate.
27. My analysis appears in the sections of this report that follow. I begin in Section II by
providing some background on the Medicaid program in general, and on California’s
Medicaid program, Medi-Cal. In Section III, I detail Medi-Cal’s reimbursement
methodology, and provide an analysis of Medi-Cal claims reimbursements under Medi-
Cal’s methodology. In Section IV, I provide a discussion and analysis of the various
prices that Sandoz reports to pricing compendia, with a particular focus on AWP. I
explain that Medi-Cal was aware that the AWP prices reported by Sandoz to the pricing
compendia generally did not represent actual pharmacy acquisition costs. In Sections V
and VI, I discuss the relationship between ingredient cost reimbursement and pharmacy
dispensing costs, and I show the implication of Dr. Leitzinger’s but-for prices for
pharmacy profitability. Lastly, in Section VII, I provide a critique of Dr. Leitzinger’s
analysis of alleged damages.

II. BACKGROUND
     A. The Federal Medicaid Program
28. The federal Medicaid program provides medical coverage to eligible lower income
individuals and families who have no or inadequate medical insurance. The program is
run through the Centers for Medicare and Medicaid Services (“CMS”), under the
auspices of the U.S. Department of Health and Human Services.8 While general
guidelines are set by the CMS, states have a great deal of flexibility in the program’s
design and administration. As part of medical coverage, all state Medicaid programs
provide some form of prescription drug benefit.9 In an outpatient setting, Medicaid
recipients take prescriptions from their health care provider to retail pharmacies that
choose to participate in the Medicaid program. In general, program costs are split




8
  CMS is the successor to the Health Care Finance Association (“HCFA”). For the remainder of the
Report, I will refer to the federal Medicaid administrator as CMS.
9
  See, for example, CMS, “Medicaid Prescription Reimbursement Information by State - Quarter Ending
June 2009,” <http://www.cms.hhs.gov/Reimbursement/Downloads/reimbursementchart2q2009.pdf>,
accessed July 27, 2009.

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between the state and the federal government, with the split varying by state and by
service type.10

      B. The Medi-Cal Program
29. Medi-Cal was created in 1966.11 Prior to July 2007, Medi-Cal was administered by
the California Department of Health Services, through its Medical Care Services
division.12 Medi-Cal provides prescription drug benefits under two plans: fee-for-service
and managed care, which differ in their patient eligibility and covered population.13
Under the fee-for-service plan, enrollees may visit any participating pharmacy, where
they present their Medi-Cal membership card when getting prescriptions filled. Usually
Medi-Cal reimbursement approval is automatic.14

30. Pharmacy participation in Medi-Cal is voluntary. However, under federal Medicaid
rules, once a pharmacy decides to participate, it must supply all drugs covered by Medi-
Cal; it may not provide certain drugs and forego others.15

      C. Medicaid Rebates
              1. Federal rebates
31. Under the Omnibus Budget Reconciliation Act of 1990 (“OBRA ’90”),
manufacturers wishing to have their pharmaceutical products reimbursed through
Medicaid have been required to participate in the Medicaid Drug Rebate Program.
Participating generic manufacturers such as Sandoz have been required to pay




10
   CMS Medicaid Program – General Overview,
<http://www.cms.hhs.gov/MedicaidGenInfo/03_TechnicalSummary.asp#TopOfPage>, accessed July 29,
2009.
11
   “Medi-Cal Facts and Figures – A Look at California’s Medicaid Program,” California Health Care
Foundation, May 2007, p. 5.
12
   Deposition of Kevin Gorospe, Medi-Cal Pharmacy Policy Chief, (September 22, 2008), (hereinafter
“Gorospe Deposition”), pp. 412-427, and Exhibits 032, 033.
13
   Gorospe Deposition (September 22, 2008), pp. 440-442. See also; Medi-Cal Facts and Figures – A Look
at California’s Medicaid Program, California Health Care Foundation, May 2007, p. 26.
14
   Deposition of Larry Bernstein, 30(b)(6), Field Office Chief for Medi-Cal Review Audits and
Investigations Program, (December 5, 2008), (hereinafter “Bernstein Deposition”), p. 36. In some cases,
the requested prescription must be authorized by the DHCS –a process known as “prior authorization.” See
Deposition of Doug Hillblom, Medi-Cal Staff Services Manager, (September 23, 2008), (hereinafter
“Hillblom Deposition”), pp. 32-34
15
   Deposition of Stanley Rosenstein, 30(b)(6), Medi-Cal Chief Deputy Director, (November 6, 2008),
(hereinafter “Rosenstein Deposition”), pp. 162-163.

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government rebates of 11 percent of the Average Manufacturer Price (“AMP”).16 The
AMP is the “average unit price paid to the [m]anufacturer for the drug … by wholesalers
for drugs distributed to the retail pharmacy class of trade … AMP includes cash discounts
allowed and all other price reductions … which reduce the actual price paid.”17 OBRA
’90 required participating manufacturers to report AMPs to CMS effective January 1,
1991.18 It also required CMS to calculate and to report unit rebate amounts (“URA”) on
which the rebates under the Medicaid Drug Rebate Program were to be paid.19

32. Medi-Cal received information on AMPs from Sandoz, which sent its AMP prices to
Medi-Cal from 1991 to 1997.20 According to Dr. Gorospe, Medi-Cal’s chief of pharmacy
policy, “Specifically they [CMS] send a file with unit rebate amounts for all NDCs as
reported to them by the manufacturers, whether or not California reimbursed the
product.”21 Dr. Gorospe went on to testify that Medi-Cal could easily derive the AMP
from information provided by CMS.22

              2. Medi-Cal supplemental rebates
33. The State of California’s Supplemental Rebate Program was implemented in the
early 1990s.23 Manufacturers enter into Medi-Cal’s supplemental rebate agreements that
at times specify the rebate to be a percentage of the AMP.24

34. Medi-Cal received AMPs for manufacturers on these types of rebate contracts.25
Sandoz sent AMP prices as part of its supplemental rebates to Medi-Cal. In at least the
fourth quarters of 1994 and 1995, Sandoz paid supplemental rebates to California based


16
   “CMS Medicaid Drug Rebate Program Overview”,
<http://www.cms.hhs.gov/MedicaidDrugRebateProgram/>, accessed July 27, 2009.
17
   Rebate Agreement Between The Secretary of Health and Human Services and The Manufacturer
(Sample),
<http://www.cms.hhs.gov/MedicaidDrugRebateProgram/14_NationalDrugRebateAgreement.asp>,
accessed July 24, 2009.
18
   Omnibus Budget Reconciliation Act 1990 (OBRA ’90) Sec. 1927(b)(3)(A)(i).
19
   Omnibus Budget Reconciliation Act 1990 (OBRA ’90) Sec. 1927(b)(2)(A).
20
   SANDOZCALI3000028-1273.
21
   Gorospe Deposition, (September 22, 2008), pp. 713-714.
22
   Gorospe Deposition (September 22, 2008), pp. 713-717.
23
   Deposition of Craig Miller, Medi-Cal Drug Rebate Program Supervisor, (October 22, 2008), (hereinafter
“Miller Deposition”) p. 221, and Deposition of Mike Namba, DHCS Pharmaceutical Program Consultant,
(April 23, 2009), (hereinafter “Namba Deposition”), Exhibit 025.
24
   Gorospe Deposition (March 19, 2008), pp. 71-73.
25
   Hillblom Deposition, pp. 257-258.

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on 10 percent of AMP, in the amounts of $236,245.16, and $311,588.33 respectively.26
In conjunction with these rebates, Sandoz provided Medi-Cal with its AMP prices for
those quarters.27

III. BASIS OF PAYMENT FOR SANDOZ DRUGS AT ISSUE
      A. Medi-Cal’s Reimbursement Methodology
35. Generally, Medi-Cal reimbursement for a claim includes payment for pharmacies’
acquisition costs for each drug (the “ingredient cost”), plus a payment of a dispensing
(“professional”) fee.28 However, under California law, the price reimbursed by Medi-Cal
may not exceed the price charged to the general public (the “Usual and Customary”
price).29

36. Medi-Cal reimburses providers for a drug at the Cost of Drug Product (CDP) plus a
dispensing fee, which is the lowest of the drug’s Estimated Acquisition Cost (EAC) plus
a dispensing fee, the Federal Allowable Cost (FAC) plus a dispensing fee,30 or the
Maximum Allowable Ingredient Cost (MAIC) plus a dispensing fee, for the Standard
Package size.31 Under California law, EAC is “the department's best estimate of the price
generally and currently paid by providers for a drug product sold by a particular
manufacturer or principal labeler in a standard package.”32 Medi-Cal has set EAC equal
to AWP minus a determined percentage.33

37. The AWP is a price which many drug manufacturers, including Sandoz, provide to
various national pricing compendia such as First DataBank and Medi-Span. Medi-Cal
has access to AWP prices, as well as Federal Upper Limit (FUL) prices, through FDB.34



26
   Miller Deposition (September 24, 2008), Exhibits 007, 010.
27
   Miller Deposition (September 24, 2008), Exhibits 007, 010.
28
   CAL. CODE REGS. tit. 22, § 51513(b)(l) (2007).
29
   CAL. CODE REGS. tit. 22, § 51513(b)(l)(A) (2007).
30
   Medi-Cal uses the acronym “FAC” to refer to the Federal Upper Limit (“FUL”) price. See CAL. CODE
REGS. tit. 22, § 51513(a)(10) (2007). See also, First Amended Complaint, p. 11.
31
   CAL. CODE REGS. tit. 22, § 51513(a)(11) (2007).
32
   CA WEL & INST § 14105.45 Effective 2007.
33
   State Plan Under Title XIX of Social Security Act, Attachment 4.19-B, Supplement A. Since at least
1985, until enactment of Assembly Bill 442, effective December 1, 2002, the EAC for a small number of
manufacturers was based on the Direct Price. Sandoz was not one of these. See Assembly Bill 442,
Chapter 1161, SEC 73(c); Rosenstein Exhibit 8.
34
   Gorospe Deposition (December 3, 2008), pp. 223-226. Medi-Cal received updated AWP figures
monthly; however, at a certain point, they started receiving weekly updates.

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38. For multiple source drugs, both the Federal Government and the state have
methodologies which establish upper bounds on reimbursement. Under Federal
regulations, CMS calculates an FUL for drugs in certain circumstances. FULs are used to
determine the upper limit for such drugs. The regulations provide for CMS to set the
FUL at 150 percent of the lowest listed price in the pricing compendia.35 However, CMS
did not calculate and/or update FULs on a timely basis.36 Moreover, a CMS witness
responsible for calculating FULs has testified that CMS did not always use the lowest
published price to set the FUL.37

39. The state upper bound, the MAIC, has been set at AWP-5% for the lowest listed
AWP price (the “reference price”) among therapeutically equivalent drugs.38 In order to
qualify as the reference price Medi-Cal requires that the manufacturer of the reference
drug be able to supply Medi-Cal’s entire requirements for that drug.39

40. The steps used to calculate the total reimbursement are:40

            1. Determine the Cost of Drug Product as the minimum of the EAC, FUL, or
               the MAIC for the “Standard Package” size;

            2. Add the dispensing fee.41 If the sum of the Cost of Drug Product and the
               dispensing fee exceeds the amount the provider charges to the general
               public, i.e. the provider’s billed amount, then reimburse the billed amount;

            3. Between January 1, 1995, and August 30, 2004, apply a reduction of
               varying amounts ($0.10, $0.25, or $0.50) to every claim. (Effective
               September 1, 2004, the reduction was eliminated.)42

41. The following schedule shows the effective date, the percentage discount off AWP
(EAC), the applicable dispensing fee, and the reduction per prescription.

35
   42 C.F.R. § 447.332(b).
36
   “Omission of Drugs from the Federal Upper Limit List in 2001,” OIG, February 2004; see also
“Addition of Qualified Drugs to the Medicaid Upper Limit List,” OIG, December 2004.
37
   Deposition of Sue Gaston , CMS Dispute Resolution Team Lead, (March 19, 2008), pp. 479-480, 498-
99.
38
   Effective May 1, 1990. State Plan 89-08 Under Title XIX of Social Security Act, Attachment 4.19-B,
Supplement A, p. 3. (Rodriguez Deposition Exhibit 017)
39
   Enrolled Bill Report for Assembly Bill 442, Section 72.
40
    CAL. CODE REGS. tit. 22, § 51513(a), (2007); see also “Medi-Cal Drug Rebate - Dispute Resolution
Frequently Asked Questions,”
<http://www.dhcs.ca.gov/PROVGOVPART/Pages/DrugRebateFAQ.aspx#1>, accessed July 23, 2009.
41
   The dispensing fee is the same for brand name and generic pharmaceuticals.
42
   CA WEL & INST § 14105.336 and 14105.337.

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              Effective Date                 EAC               Dispensing Fee             Reduction
            Prior to Oct. 16,
                                      AWP-0%                 $4.05
            1989
            Oct. 16, 1989             AWP-5%                 $4.05
            January 1, 1995           AWP-5%                 $4.05                     $0.50
            January 1, 2000           AWP-5%                 $4.05                     $0.25
            July 1, 2002              AWP-5%                 $4.05                     $0.10
                                                                                       $0.50 ($0.10 for
            October 1, 2002           AWP-5%                 $4.05
                                                                                       nursing homes)
                                                                                       $0.50 ($0.10 for
            December 1, 2002          AWP-10%                $4.05
                                                                                       nursing homes)
            July 1, 2004              AWP-10%                $4.05                     $0.10
                                                             $7.25 ($8.00 for          Eliminated
            September 1, 2004         AWP-17%
                                                             nursing homes)

42. EAC is based on the Standard Package size. In general, the Standard Package is set at
the 100-unit package size.43 For example, if a Medi-Cal prescription is filled with pills
from a 1000-pill package, the AWP applied to that claim for reimbursement will typically
be the one associated with the 100-pill package size for that same drug.

      B. The Majority of Claims for Sandoz NDCs at Issue Were Not Based On
      Sandoz’ Reported AWP
43. Plaintiffs allege that Sandoz knew that its reported prices for the drugs at issue would
be used by Medi-Cal for “establishing reimbursement to its Medi-Cal providers for these
drugs.”44 However, in analyzing the claims at issue in this case, I find that the majority
were not in fact reimbursed based on the prices directly reported by Sandoz.

44. The claims data produced by the State of California included a field identifying the
basis of payment for each claim.45 Figure 1 below presents a summary analysis of the

43
   CAL. CODE REGS tit. 22, § 51513(a)(8) (2007).
44
   First Amended Complaint, p. 1.
45
   To analyze the claims data produced by the Plaintiffs, I first determined the claims reimbursed at the
usual and customary amount. I then relied upon the field, CLM_PMT_CLCLTN_CD_830, in the Medi-
Cal claims data to determine the basis of payment on remaining claims. I understand that a value of “4” for
the field CLM_PMT_CLCLTN_CD_830 represents claims for which the determined allowed amount was
based on MAIC. These claims had apparently already been dropped from the claims data I received. The
field CLM_PMT_CLCLTN_CD_830 indicates the “method used to determine the allowed amount.” See:
“Help Text for RAIS Claim Product Universe” and 2007-11-15 Letter Re CA Claims Data.pdf. This field

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distribution of the bases of reimbursement for Sandoz drugs at issue, according to this
field (See Exhibit 2 for a more detailed presentation).46 As shown in Figure 1, Medi-Cal
reimbursed 74 percent of claims for Sandoz drugs at issue based on the FAC price.
Medi-Cal based its reimbursement on AWP in only about 9 percent of claims (about 20
percent of reimbursement dollars).47 Therefore, for most claims at issue, the ingredient
cost calculation did not rely on prices provided by Sandoz.


                                                 Figure 1
                                    Medi-Cal Claims: Summary of Basis
                                         of Payment (1994-2004)
                                      Basis of
                                                Claims % Dollars %
                                     Payment
                                          FAC        74%            51%
                                          EAC         5%            11%
                                    AWP-Disc          9%            20%
                                        U&C          12%            17%
                                         Other        0%            0%



IV. PRICES REPORTED TO PRICING COMPENDIA
    A. AWP is a Benchmark Price
              1. AWP reflects a benchmark price used by third-party payers (public and
              private) as a basis for reimbursement to pharmacies.
45. It has been commonly understood that AWP does not represent the actual average
price that a pharmacy pays for branded and generic drugs. With respect to generic drugs,
AWP has served a specific function, as explained below.

              2. AWP is used by pricing compendia to define a drug’s generic status.




does not indicate if a claim was ultimately reimbursed at U&C, however. Since this is the field relied upon
to filter out MAIC-based claims, I conclude that it is reasonable to rely on it to determine Medi-Cal’s basis
of payment.
46
   This conservatively assumes that claims indicated as based on “EAC” were actually based on AWP-Disc.
U&C is calculated as claims where the data field CLM_BILL_AMT is less than
CLM_ALOWD_AMT_380 plus CLM_PROFNL_FEE_AMT_381.
47
   Note that this excludes claims based on MAIC, which I estimate to have been approximately 1.8 percent
of claims. See the readme.txt file provided with the Medi-Cal claims data. The file indicates the number of
MAIC claims transactions which were dropped in the data produced by Plaintiffs.

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46. FDB produces a data field, the Generic Pricing Indicator (“GPI”), in which FDB
classifies a drug as either brand or generic based on the product’s reported AWP.48 The
GPI classification is based on a proprietary FDB methodology.49 Generally speaking, a
drug is classified as generic if a manufacturer’s AWP is less than about 90% of the
corresponding branded AWP.50

47. Because generic drugs often receive preferential treatment under both state mandatory
substitution laws and under most insurance companies’ formularies, Sandoz has a strong
interest in having its products classified as generics.51 According to testimony from
numerous Sandoz representatives, when launching a drug, Sandoz sets its AWP with the
generic designation in mind and not to affect Medicaid reimbursement.52 Specifically,
when Sandoz is the first generic entrant, Sandoz typically sets AWP at less than 90
percent of the brand-name manufacturer’s AWP to ensure that FDB classifies its drugs as
generics.53 When Sandoz is not the first entrant, it sets the AWPs in-line with other
generic competitors.54

      B. WAC is a List Price
48. In the 2003 Medicare Modernization Act, the U.S. Congress described the WAC
price as “… the manufacturer’s list price for the drug or biological to wholesalers or
direct purchasers in the United States, not including prompt pay or other discounts,
rebates or reductions in price, for the most recent month for which the information is
available, as reported in wholesale price guides or other publications of drug or biological
pricing data.”55 This definition by the Congress reiterated the widely understood
meaning of WAC.

48
   Deposition of Patricia Kay Morgan, FDB Manager of Product Knowledge-Based Services, (January 11,
2005), (hereinafter “Morgan Deposition”), pp. 279-281. According to Ms. Morgan, FDB actually has up to
six generic indicator fields.
49
   Morgan Deposition (January 11, 2005), pp 201-203.
50
   Deposition of Kevin Galownia, Sandoz Pricing and Financial Analysis Senior Manager, (June 19, 2008),
(hereinafter “Galownia Deposition”), pp. 235-237. Patricia Kay Morgan testified that this percentage is
not a “rule,” and that generic classification depends on a statistical calculation. See Morgan Deposition
(August 27, 2007), pp. 98-99.
51
   Deposition of Christopher Worrell, Sandoz Vice President of Sales and Marketing, (August 23, 2007),
(hereinafter “Worrell Deposition”), pp. 55-56, 58-60.
52
   Worrell Deposition (August 23, 2007), p. 68.
53
   Worrell Deposition (August 23, 2007), pp. 60-61.
54
   Galownia Deposition (June 19, 2008), pp. 238-240.
55
   Medicare Modernization Act H.R.1-177 Sec.1847A(c)(6)(B), January 7, 2003.

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49. Patricia Kay Morgan of First DataBank testified that WAC is “the price that
[manufacturer] would list in a catalog or use in a communication to the trade” that does
not include discounts.56 A 1994 GAO study also considered WAC to be a “factory price”
that pertains to the undiscounted market segment.57 Dr. David Kreling also testified that
WAC is a list price, and not a net payment by wholesaler to manufacturer.58 Professor
Stephen Schondelmeyer, an expert retained by Plaintiffs in this case, also considered
WAC to be a list price. In his 2005 case study on Texas, he reported that list prices,
including WAC, “did not offer a reliable method for estimating pharmacies' acquisition
costs for prescription drugs.”59

              1. WAC is not a “false” price.
50. WAC is the price at which Sandoz invoices wholesale customers.60 Moreover,
customers who do not have pricing contracts with Sandoz may pay the WAC price.
Christopher Worrell testified: “… a certain portion of our business was actually sold at
WAC. So, it’s not inflated if it’s actually a selling price that people are paying. It may
be higher than contracts but we actually made sales at those prices.”61

              2. AWP and WAC respond to competition.
51. In response to competitive situations, a generic pharmaceutical manufacturer such as
Sandoz may adjust its products’ AWPs, and WACs.62 In fact Sandoz reported AWPs
were typically in line with those of its generic competitors.

52. WAC is also set in response to generic competition. As the starting point for pricing
to wholesalers, Sandoz has an incentive to keep WAC as high as the market will bear.
(Other things the same, a higher WAC will generate higher revenues). However,
counterbalancing this are incentives to keep WAC in line with contract prices. Prompt
pay discounts are tied to WAC. Chargebacks are determined by the difference between
56
   Morgan Deposition (August 27, 2007), pp. 84-85.
57
   “Prescription Drugs, Companies Typically Charge More in the United States Than in the United
Kingdom,” GAO, January 1994, pp. 18-20.
58
   Deposition of David Kreling (December 4, 2008), pp. 88-89.
59
   Wrobel, Marian V., Stephen W. Schondelmeyer, et al., “Case Study of the Texas Vendor Drug
Program’s Approach to Estimating Drug Acquisition Costs,” Abt Associates, Inc., September 26, 2005, p.
1.
60
   Galownia Deposition (June 19, 2008), p. 37, see also Deposition of Mathew Erick, Cardinal Vice
President of Generic Market Development, (June 17, 2008), (hereinafter “Erick Deposition”), p. 119.
61
   Worrell Deposition (May 13, 2008), p. 901.
62
   Worrell Deposition (August 23, 2007), pp. 65-66.

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WAC and the contract prices,63 therefore a lower WAC will reduce the interest costs
associated with the chargeback payments.

              3. List prices are common in many industries.
53. Many industries use list prices for their products. These prices are often the actual
price paid by a given customer. Common examples include sticker prices for cars, rack
rates for hotel rooms, and cover price for magazines/newspapers. Typically, in these
examples, consumers will actually pay lower prices because providers offer subscription
or sales prices. However, these are also the actual prices paid by some consumers.

      C. The State of California Was Aware that AWP Did Not Represent Actual
      Acquisition Cost
              1. CMS and third-party reports informed Medi-Cal that AWP did not
              represent an actual acquisition cost.
54. As early as 1985, CMS was concerned that Medi-Cal “relie[d] so heavily upon AWP
as the basis of its EAC.”64 CMS surveyed a sample of Medi-Cal participating pharmacies
throughout the state to learn the prices at which these pharmacies were purchasing drugs.
The study found that in the aggregate, pharmacies acquired drugs at 16.63% below
AWP.65

55. In 1987, Medi-Cal changed its reimbursement formula in light of the newly
established FULs. In the process of adopting the new regulation, Medi-Cal had access to
a Sandoz pricing list with AWP, WAC and the Direct Price for select drugs, as well as
contract prices for some Sandoz drugs.66 The data suggested that AWP did not represent
actual acquisition cost. On various strengths of ampicillin, for example, contract prices
were on average about 35% below the AWPs.67 Moreover, there is typically intense price
competition between competing generic manufacturers. Where Medi-Cal had access to
prices from other generic manufacturers distributing a product that competed with a

63
   Worrell Deposition (August 23, 2007), pp. 104-107, and Galownia Deposition (June 19, 2008), pp. 37,
195-197.
64
   “EAC Survey Report, California Medi-Cal Program, EAC Patrol Initiative,” FY85 HCFA Region IX,
1985, p. 3. (Terra Deposition Exhibit 002).
65
   “EAC Survey Report, California Medi-Cal Program, EAC Patrol Initiative,” FY85 HCFA Region IX,
1985, p. 6. (Terra Deposition Exhibit 002).
66
   The data were available through a Pharmaceutical Care Network catalog. Rosenstein Deposition Exhibit
033, see also Terra Deposition Exhibit 004, 007.
67
   I looked at the following NDCs: 00781125501, 00781255505, 00781299901, and 00781299905. (Terra
Exhibit 7, p. 2).

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Sandoz product, those prices provided relevant information with respect to the price of
Sandoz' competing product.

56. Medi-Cal was asked by CMS to explain Medi-Cal’s continued reliance on AWP as a
basis for reimbursement.

            •    In a 1988 letter from an Associate Regional Administrator with CMS, Mr.
                 John Rodriguez, the Deputy Director of the Medical Care Services
                 division at Medi-Cal, was asked to explain Medi-Cal’s reference to AWP
                 in setting its EAC “… since there is so much evidence that AWP is not a
                 reliable predictor of what pharmacists actually pay for drugs.”68
            •    Similarly, in a 1989 letter from an Associate Regional Administrator with
                 CMS, Mr. Rodriguez was asked to explain and justify Medi-Cal’s
                 continued reliance on AWP for setting reimbursement upper limits in light
                 of evidence that AWP did not represent actual prices paid by
                 pharmacies.69
57. Moreover, Medi-Cal staff responsible for reimbursement policy had access to and
were aware of numerous other reports and analysis, including studies by the State of
California, showing that AWP does not represent actual acquisition cost.

            •    A 1980 GAO report states that “because HHS believed that the AWPs
                 were too high, a primary objective of the EAC program was to get the
                 States away from using [AWPs] as the basis for establishing upper
                 reimbursement limits under their Medicaid drug programs.”70
            •    A 1984 report by the OIG, which was transmitted to state Medicaid
                 agencies, stated: “The purpose of this report is to alert Departmental
                 management officials to the opportunity for significant reductions in
                 program expenditures if actions are taken to stop the present widespread
                 use of average wholesale prices (AWP) in determining program
                 reimbursement for prescription drugs. […] HCFA believed that published
                 AWP was too high and, therefore, the purpose of the EAC requirement in
                 the regulations was to move states away from using AWP as the upper
                 limit for reimbursing drug ingredient cost.”71
            •    A May 1996 OIG report found that in California AWP exceeded invoice
                 prices overall by 17.5 percent for brand name drugs, and 41.4 percent for
                 generics (based on a sample of 34 pharmacies).72


68
   Rodriguez Deposition, Exhibit 009.
69
   Rodriguez Deposition, Exhibit 010.
70
   “Programs to Control Prescription Drug Costs Could be Strengthened,” GAO report, (December 1980),
p. 37.
71
   “Changes to the Medicaid Prescription Drug Program Could Save Millions” OIG, September 1984, p. 3.
72
   Rosenstein Deposition, Exhibit 005.

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            •     A March 1996 audit performed by the California State Controller’s Office
                 in an effort to identify ways Medi-Cal could control costs concluded that
                 the state could save $54 million annually if it were to increase the AWP
                 discount to AWP-10% from AWP-5%.73 A subsequent “Check-Up” by
                 the State Controller’s Office determined that “… the Medi-Cal program
                 continues to pay much more for prescription drugs than is paid by other
                 states and other major purchasers of drugs.”74 The “Check-Up”
                 highlighted California’s low discount off of AWP compared with other
                 states.
             2. Medi-Cal had access to information regarding the existence and
             magnitude of generic margins.
58. Medi-Cal had available sources indicating that differences between AWP and actual
acquisition costs for generic drugs were generally higher than the differences for branded
drugs. Various studies from the OIG reported estimates of acquisition costs for branded
drugs and generics. For example, an August 2001 OIG report used data from invoices
from calendar-year 1999 from a survey of pharmacies from eight states (excluding
California). The report concluded that pharmacy invoice prices were an average of 21.84
percent below AWP for branded drugs.75 A March 2002 OIG report using the same
states and time period found that pharmacy invoice prices were an average of 65.93
percent below AWP for generic drugs. 76

59. A 2005 OIG study compared reported AWP to AMP using FDB data and CMS data
from the first half of 2004. The study found that across NDCs reimbursed by Medicaid,
the weighted average generic AWP exceeded AMP by 74 percent compared with 24
percent for single-source brand name drugs.77

60. A 1996 Barron’s article pointed out the difference in margins for brand versus
generic: “For many drugs, especially the growing number coming off patent and going




73
   Rosenstein Deposition, Exhibit 006.
74
   Rosenstein Deposition, Exhibit 007, p. 4.
75
   “Medicaid Pharmacy – Actual Acquisition Cost of Brand Name Prescription Drug Products,” OIG,
August 2001 (Gorospe Deposition (March 19, 2008), Exhibit 027). See also the May 1996 OIG report,
Rosenstein Deposition (November 6, 2008), Exhibit 005.
76
   “Medicaid Pharmacy – Actual Acquisition Cost of Generic Prescription Drug Products,” OIG, March
2002 (Gorospe Deposition (March 19, 2008), Exhibit 028). See also, “Medicaid Pharmacy – Actual
Acquisition Cost of Generic Prescription Drug Products,” OIG, August 1997.
77
   “Medicaid Drug Price Comparisons: Average Manufacturer Price to Published Prices,” OIG, June 2005,
Table 1.

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generic, the drug providers actually pay wholesale prices that are 60% - 90% below the
so-called average wholesale price, or AWP, used in reimbursement claims.”78

61. In June 2002 Myers and Stauffer prepared studies of pharmacy reimbursements and
drug acquisition costs in California on behalf of the DHCS.79 At the time of the study,
the reimbursement formula was based on AWP-5% with a $4.05 dispensing fee.
According to Myers and Stauffer’s analysis of year-2000 invoices, the average actual
acquisition cost across pharmacies was 82.8% of AWP for single source drugs based on
invoices from external wholesalers.80 In contrast, for multi-source drugs, the average
actual acquisition cost for drugs with a FUL was 14.1% of AWP, and for drugs without a
FUL was 64.6% of AWP.81

             3. California policy-makers were aware that AWP does not represent actual
             acquisition cost.
62. Several Medi-Cal representatives, including high-ranking individuals, testified that
they understood that AWP does not and did not reflect actual pharmacy acquisition costs
for drugs.

             •   Doug Hillblom, a staff services manager at Medi-Cal, testified that “Q: …
                 at the time you joined the California Department of Health Services …
                 [y]ou understood that for drugs … with which you were familiar AWP on
                 average was higher than the provider’s acquisition costs for the drug? A:
                 Correct.”82
             •   Kevin Gorospe testified that “Q: So when you went to work for the state,
                 it was your understanding, at least in your experience, that when
                 pharmacies acquire drugs from manufacturers, that they were paying
                 something less than AWP? … A: Yes.”83
63. Members of the California Legislature and of the Governor’s office also understood
that the AWP was not a good measure of actual acquisition costs. Moreover, this



78
   “Hooked on Drugs,” Barron’s, June 10, 1996.
79
   A Survey of Acquisition Costs of Pharmaceuticals in the State of California (hereinafter “Myers and
Stauffer, Acquisition Costs”), and Study of Medi-Cal Pharmacy Reimbursement (hereinafter “Myers and
Stauffer, Pharmacy Reimbursement”), Myers and Stauffer, LC., Prepared for the California Department of
Health Services, June 2002.
80
   Myers and Stauffer, Acquisition Costs, Exhibit 9.
81
   Myers and Stauffer, Acquisition Costs, Exhibits 12 and 13.
82
   Hillblom Deposition, p. 58.
83
   Gorospe Deposition (March 19, 2008) pp. 57-58.

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awareness was clearly reflected in policy discussions regarding Medi-Cal’s
reimbursement policy.

             •    Stanley Rosenstein testified that the March 1996 audit by the California
                  State Controller’s Office was well publicized: “It was very much put in the
                  public domain and debated and in the press. It was a fairly controversial
                  report.” He testified that Department of Health Services received
                  numerous inquiries about the report from California Legislators.84
             •    The findings behind a 1995/1996 request for approval for proposed
                  legislation to increase the discount on AWP and add a WAC component to
                  the calculation of reimbursement, highlighted the fact that AWP was high
                  relative to actual acquisition costs. The request had been signed by the
                  Governor’s office.85
64. In sum, California policy-makers at all levels were clearly aware (well before the start
of the damages period) that AWP did not represent an actual price, and could not be an
appropriate measure of EAC.

V. MEDI-CAL DISPENSING FEES AND PHARMACY PROFITABILITY
      A. Medicaid Statute Mandates Patient Access to Medicaid Pharmacy Services
65. Since pharmacies participate in Medi-Cal on a voluntary basis, the reimbursement
formula established by Medi-Cal must be sufficient to “enlist enough providers so that
care and services are available … at least to the extent that such care and services are
available to the general population in the geographic area.”86 From an economic
perspective, the willingness for a pharmacy to participate in Medi-Cal depends
fundamentally on the total reimbursements – including ingredient cost reimbursement
and dispensing fee – that the pharmacy receives on prescriptions. Adequate
compensation for pharmacies is essential for Medi-Cal to provide access to recipients and
satisfy the rules established under the federal statute.

      B. It is Important to Evaluate the Reimbursement System as a Whole
66. In order for the sale of a drug under Medi-Cal to be profitable for a pharmacy, the
pharmacy must be able to cover not only the cost of acquiring pharmaceuticals, but also
other costs. Therefore, profitability requires that any shortfall in dispensing fees be off-
set (“cross-subsidized”) by higher reimbursements on ingredient costs.

84
   Rosenstein Deposition, pp. 100-104.
85
   Rosenstein Deposition, Exhibit 010, p. 123.
86
   42 U.S.C. § 1396a(30)(A).

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67. This was understood by federal Medicaid officials. For example, in a 1990 letter, Ms.
Kathleen Buto, CMS’s Director of the Bureau of Policy Development, explained: “[a]t
the present time, we [CMS] fully expect that as states establish Estimated Acquisition
Costs (EAC) at Average Wholesale Price (AWP) less a significant discount there will be
added pressure to increase dispensing fees.”87

68. Moreover, as Leonard Terra, former Chief of the Pharmacy Unit in the Medi-Cal
Policy Division, testified: “Overall reimbursement to pharmacy providers is not only the
ingredient cost side of the reimbursement but their dispensing fee. And to the extent that
you adjust one side of the equation, it may affect the other side of the equation in terms of
overall reimbursement to pharmacies … To provide access to drugs, we need pharmacies
that participate in Medi-Cal, and they will participate depending on overall
reimbursement and adequacy of that.”88

      C. Medi-Cal Dispensing Fees Do Not Cover Dispensing Costs for Many
      Pharmacies
69. There is substantial evidence that in many states, including California, Medicaid
dispensing fees have been set at levels insufficient to cover the costs of many pharmacies.
This is especially true for high-cost pharmacies.

70. For example, a 2004 report prepared by Drs. Stephen Schondelmeyer and Marian
Wrobel, with help from a panel of experts selected in consultation with CMS, indicated
that with respect to Medicaid, “dispensing fees are lower than actual dispensing costs and
that drug payment generally exceeds actual acquisition costs.” The panel concluded that
“[t]he spread in drug payment compensates for the low dispensing fees,” and that “[i]f it
weren’t for the spread, pharmacies would be out of business.”89

71. Third-party studies which have included California pharmacies have estimated
pharmacy dispensing costs that are much higher than the dispensing fees paid by Medi-
Cal.


87
   Deposition of Kathleen Buto, (September 12, 2007), Dey Exhibit 101.
88
   Deposition of Leonard James Terra, Medi-Cal Chief of Pharmacy Unit, (December 4, 2008), (hereinafter
“Terra Deposition”), pp. 114-115.
89
   Schondelmeyer, Stephen W. and Marian V. Wrobel, Medicaid and Medicare Drug Pricing: Strategy to
Determine Market Prices, Final Report, Abt Associates, Inc., August 30, 2004, Appendix. B-2. The panel
was basing its conclusions on a general industry understanding.

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              1. The Purdue Study
72. In 1989 and 1990, Purdue University researchers surveyed 751 chain pharmacies
across the United States in order to estimate the average total cost to a pharmacy of
dispensing a prescription. The surveys were developed with the help of the National
Association of Chain Drug Stores (“NACDS”) staff and executives from chain
pharmacies, and were sent via mail to a random sampling of chain pharmacies. Financial
data from the surveys was incorporated into a model designed to account for both the
direct and indirect costs associated with the operation of pharmacies and the dispensing
of prescriptions. The study found that pharmacies in the west region on average were
incurring $5.97 in dispensing costs per prescription.90

              2. The Myers and Stauffer Study
73. In June 2002, a Myers and Stauffer study commissioned by Medi-Cal considered the
relationship between actual pharmacy dispensing costs and Medi-Cal dispensing fees.91
The study reported that in California Medi-Cal’s reimbursement for ingredient costs were
generally higher than what pharmacists paid for drugs, and Medi-Cal’s dispensing fee
was significantly lower than the average dispensing costs. The study argued that “…
both dispensing fee and ingredient reimbursement rates should be considered in tandem
…”92

74. Specifically, Myers and Stauffer found that in 2002 the unweighted median pharmacy
dispensing cost among all included pharmacies was $7.40 per prescription93 and the
unweighted average dispensing costs was $7.87. Moreover, Myers and Stauffer reported
that 75 percent of pharmacies sampled had dispensing costs of between $5 and $10.94

75. Furthermore, Myers and Stauffer determined that the difference in the unweighted
average dispensing cost between low-volume pharmacies (at $10.02) and high volume


90
   West region consisted of Alaska, Arizona, California, Colorado, Idaho, Hawaii, Montana, Nevada, New
Mexico, Oregon, Utah, Washington, and Wyoming. “An Assessment of Chain Pharmacies’ Costs of
Dispensing a Third Party Prescription,” Pharmaceutical Economics Research Center, Purdue University,
May 1990, p. 113.
91
   Myers and Stauffer, Pharmacy Reimbursement.
92
   Myers and Stauffer, Pharmacy Reimbursement, p. 6.
93
   The dispensing cost estimate is for pharmacies that do not dispense intravenous and compounding
medications. Myers and Stauffer, Pharmacy Reimbursement, p. 28.
94
   Myers and Stauffer, Pharmacy Reimbursement, pp. 26-28.

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pharmacies (at $6.92) was $3.10 per prescription.95 Thus, low-volume pharmacy costs
were, on average, 45% higher than high-volume pharmacy costs.

76. The Myers and Stauffer results indicate that, given Medi-Cal’s $4.05 dispensing fee,
a majority of the pharmacies participating in Medi-Cal at that time were not being
adequately compensated for their dispensing costs.

77. Based on these studies, Myers and Stauffer recommended that the DHCS “should
consider increasing the discount from the Average Wholesale Price (AWP) for both
single source and multi-source drugs.”96 They also recommended that the dispensing fee
should be raised “[s]hould the [DHCS] desire to more closely match the pharmacy
dispensing fee with observed pharmacy dispensing cost …”97

             3. The Grant Thornton Study
78. A 2007 study by Grant Thornton surveyed 23,152 pharmacies to quantify the costs
incurred by pharmacies in dispensing prescriptions. Grant Thornton analyzed prior
studies, interviewed an expert panel consisting of academics and state Medicaid experts,
and visited a variety of pharmacies.98

79. The study concluded that the average cost to dispense a Medicaid prescription by
California pharmacies was $13.18, with a 25th percentile of $10.92, and a 75th percentile
of $14.12.99 The study also includes dispensing cost comparisons for low volume and
high volume pharmacies as well as for rural and urban pharmacies. When the cost of
dispensing is computed on a per-pharmacy basis, the mean cost for low volume
pharmacies is $14.84 per prescription and for high volume pharmacies, $9.01 per
prescription. Similarly, the mean dispensing cost per prescription is $10.90 for rural
pharmacies and $12.30 for urban pharmacies.100


95
   Myers and Stauffer, Pharmacy Reimbursement, p. 29. Low-volume pharmacies are those that dispensed
fewer than 30,000 prescriptions in the year 2000, and high-volume pharmacies are those that dispensed
60,000 or more prescriptions.
96
   Myers and Stauffer, Pharmacy Reimbursement, p. 5.
97
   Myers and Stauffer, Pharmacy Reimbursement, p. 6.
98
   “National Study to Determine Dispensing Prescriptions in Community Retail Pharmacies,” Grant
Thornton, January 26, 2007.
99
   “National Study to Determine Dispensing Prescriptions in Community Retail Pharmacies,” Grant
Thornton, January 26, 2007, p. 30.
100
    “National Study to Determine Dispensing Prescriptions in Community Retail Pharmacies,” Grant
Thornton, January 26, 2007, pp. 17, 20.

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80. At the time of this study, the dispensing fee for Medi-Cal was $7.25 for most
pharmacies. Although the fee had been increased in 2004, it was not sufficient to cover
dispensing costs of many pharmacies.

81. It is clear that Medi-Cal’s dispensing fee was not adequately compensating many
participating pharmacies for their dispensing costs. If pharmacies were to find it
profitable to participate in Medi-Cal programs, this deficit would have to be made up for
by reimbursements that exceeded ingredient costs.

       D. Subsidizing the Shortfall in Dispensing Fees May Require a Substantial
       Percentage Margin on Ingredient Costs
82. In order to cross-subsidize the shortfall in dispensing costs, pharmacies require
substantial margins on the ingredient costs. This is particularly true for generic drugs,
whose ingredient costs are generally lower, and often substantially lower than the
ingredient costs on branded drugs.

83. Consider a generic drug with a pharmacy acquisition cost of $2 per prescription and a
dispensing cost of $7.40 per prescription, as estimated by Myers and Stauffer for 2000.
$7.40 is $3.35 more than the $4.05 California dispensing fee. In this case, the pharmacy
requires reimbursement for the ingredient cost of at least $5.35 ($2.00 plus $3.35) to
break even on prescriptions of this drug. This represents a margin of 168%.

       E. Access Issues Played a Prominent Role in Medi-Cal’s Policy Discussions
       Regarding Reimbursement
                 1. Adequate access was important to state officials considering
                 reimbursement policy.
84. It is clear from the evidence that access to pharmacy services has been a primary
concern of state officials when considering reimbursement policy.

                •   Mr. Rosenstein testified that the DHCS had taken a position against a
                    proposed California Assembly Bill, AB1915, which would have increased
                    the percentage discount on AWP from 5% to 15% for calculating EAC,
                    because of concerns that it would negatively affect patient access in
                    violation of federal law.101
                •   Dr. Gorospe testified that a goal of the Medi-Cal program is “to ensure
                    that recipients have access to care,” and a way of reaching this goal is to
                    ensure that there are an adequate number of providers participating in the
101
      Rosenstein Deposition, Exhibit 014, pp. 153-155.

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                 program.102 According to Dr. Gorospe, “before Medi-Cal makes decisions
                 on changes in policy, … it wants to satisfy itself that whatever change is
                 being proposed is not going to negatively impact access to care.”103
             •   Dr. Gorospe testified that “providers were concerned about any proposed
                 reductions in reimbursement because it would impact their ability to either
                 participate in the Medi-Cal program, or in some instances, to stay in
                 business.”104
             •   A Task Force was established at the initiative of the California Health and
                 Welfare Agency to consider Medi-Cal cost-saving options to be
                 considered as part of the Governor’s budget.105 Members of the Task
                 Force included representatives from the California Legislature, the
                 Department of Health Services, government officials and members of the
                 medical and pharmaceutical industries.106 Although ideas for revising the
                 reimbursement methodology were considered, the Task Force was
                 apparently not very enthusiastic. A summary of Task Force
                 recommendations stated that “[t]he Task Force had many misgivings
                 about implementing either of these two options [reducing reimbursement
                 to AWP-15% from AWP-5%, or basing reimbursement on WAC]. While
                 the proposals do save money, Task Force members noted that these would
                 risk reducing Medi-Cal beneficiaries’ access to pharmacy services as
                 pharmacies withdraw from Medi-Cal participation or go out of
                 business.”107
             •   Mr. Rosenstein testified that Medi-Cal’s 2004 changes to its
                 reimbursement formula, including a combination of raising the AWP
                 discount to AWP-17% and raising the dispensing fee to $7.25 ($8.00 for
                 nursing homes), were in direct response to Myers and Stauffer’s 2002
                 study.108
              2. Pharmacy groups expressed concern about lowering the ingredient
              reimbursements.
85. California pharmacists repeatedly expressed concern that lowering ingredient
reimbursements (without increasing dispensing fees) would lead some pharmacies to stop
participating in the Medi-Cal program.

86. For example, in a letter dated March 23, 1988, to a California State Senator, the
California Pharmacists Association (“CPhA”) argued that a proposal to base


102
    Gorospe Deposition (March 19, 2008), pp. 112-115.
103
    Gorospe Deposition (March 19, 2008), pp. 113-118.
104
    Gorospe Deposition (March 19, 2008), p. 119.
105
    Rosenstein Deposition, pp. 54-55; Gorospe Deposition (March 19, 2008), pp. 142-143.
106
    Rosenstein Deposition, pp. 171-174, Exhibit 017.
107
    Rosenstein Deposition, Exhibit 024.
108
    Rosenstein Deposition, pp. 228-232, 240-241.

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reimbursement on actual acquisition cost rather than AWP would “result in several
independent pharmacies in California being forced out of business.”109

87. More recently, in a letter dated February 22, 2000, to a California Legislator,
California Advocates, Inc., on behalf of CPhA, lobbied against a proposal, AB1915, to
lower reimbursement from AWP-5% to AWP-15%. California Advocates, Inc. stated
that “… many pharmacies will not accept a reimbursement level that is lower that their
cost of doing business and in many cases will cease to participate in the Medi-Cal
program. Many pharmacies in rural or inner-city regions that serve a high volume of
Medi-Cal patients will be put out of business.”110

88. Indeed, as mentioned above, Medi-Cal also opposed the bill, citing conflict with
federal law with respect to maintaining an adequate network of providers.111 The change
to AWP did not occur.

89. The response by pharmacies to CMS’s recent proposal to revise the methodology for
calculating FULs provides further evidence of the importance of adequate reimbursement
to pharmacy participation in the Medicaid program. CMS proposed replacing the
existing methodology for calculating FULs (150% of lowest published price) with 250%
of AMP. Pharmacists sued CMS arguing that the new methodology would substantially
reduce reimbursements to pharmacists and as a result potentially “limit access to
medications and pharmacy services.”112 Interestingly, Professor Schondelmeyer filed a
report on behalf of the pharmacists concluding: “Reductions in payments will result in
substantial loss, and even closures, for a number of pharmacies. In total, a loss of 20% of
all retail pharmacies would not be unexpected from payment cuts of the magnitude that
will result from the final rule.”113



109
    Gorospe Deposition (March 19, 2008), Exhibit 007.
110
    Gorospe Deposition (March 19, 2008), Exhibits 009 and 011.
111
    Rosenstein Deposition, Exhibit 014.
112
    Koutnik-Fotopoulos, Eileen, “Pharmacists Demand Fair Dispensing Fee,” Pharmacy Times, March 24,
2006.
113
    Expert Report of Stephen W. Schondelmeyer, Pharm.D., Ph.D., National Association of Chain Drug
Stores and National Community Pharmacists Association v. United States Department of Health and
Human Services, et al., November 13, 2007, p. 8. See also, “Medicaid Outpatient Prescription Drugs,”
GAO, December 22, 2006; “Determining Average Manufacturer Prices for Prescription Drugs Under the
Deficit Reduction Act of 2005,” OIG A-06-06-00063, May 2006.

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90. In sum, Medi-Cal was aware that any reduction in ingredient reimbursements would
likely need to be offset by increases in dispensing fees.

VI. PROFITABILITY OF CALIFORNIA PHARMACIES
      A. Introduction
91. In this section, I show that if Medi-Cal had relied on the but-for prices calculated by
Dr. Leitzinger for its ingredient reimbursements, a substantial number of pharmacies
would have lost money dispensing Sandoz drugs at issue to Medi-Cal recipients, even
before accounting for any shortfall in dispensing fee.

      B. Dr. Leitzinger’s But-For Prices
92. Dr. Leitzinger calculates but-for prices by NDC and quarter, using transactions data
produced by Sandoz.114 Dr. Leitzinger starts by calculating a “net price,” detailed below,
which is a quarterly average price intended to represent an estimate of the amount
wholesalers paid to Sandoz.115

93. He then adds a mark-up of between 3.7 and 5.4 percent over the “net price,”
depending on the year, to arrive at an estimate of the price that wholesalers’ customers
(i.e., retail pharmacies) pay.116 In particular, Dr. Leitzinger states that he was asked to
“[d]etermine the amounts (total ingredient cost only) that Medi-Cal would have
reimbursed if the reported average wholesale prices (“AWPs”) reasonably approximated
the actual prices currently paid by wholesalers’ customers.”117

94. Therefore, Dr. Leitzinger’s prices, each calculated as the “net price” plus a 3.7 to 5.4
percent mark-up, are the prices which Dr. Leitzinger evidently believes are a reasonable
approximation of the prices paid by pharmacies. These prices are apparently what Dr.
Leitzinger considers to be reasonable estimates of what Medi-Cal “would have
reimbursed” for ingredient costs had Sandoz reported AWPs which “reasonably



114
    These data include information with respect to invoices, rebates, credits and chargebacks, and include
transactions covering the period from January 2, 1996 through December 24, 2004. See CALI 3000000
and CALI 3000001, see also Leitzinger Report, pp. 8-11.
115
    Leitzinger Report, p. 8.
116
    Leitzinger Report, p. 11. The mark-ups are gross margins, which Dr. Leitzinger obtained from various
years’ issues of the “Industry Profile and Healthcare Factbook,” Healthcare Distribution Management
Association.
117
    Leitzinger Report, p. 2.

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approximated the actual prices currently paid by wholesalers’ customers.”118 In this
respect, they are properly interpreted as but-for reimbursement prices.

95. I note, however, that there is some ambiguity in the prices Dr. Leitzinger intends to
be his but-for price. To calculate damages, Dr. Leitzinger calculates an overcharge based
on the difference between actual Medi-Cal reimbursement, and an amount which is 25
percent over his “net price.”

96. It is not clear whether the but-for prices are meant to be the prices calculated by Dr.
Leitzinger as his “net price” plus the 3.7 to 5.4 percent mark-up, or his “net price” plus a
25 percent margin.

97. To calculate a quarterly “net price,” Dr. Leitzinger first aggregates invoice dollars for
each NDC within a quarter on Sandoz’ direct sales to wholesalers and distributers. He
then reduces these gross sales figures by multiplying them by a “payment adjustment
percentage” in order to account for rebates, chargebacks, and other credits Sandoz
refunded to the wholesalers.

98. Dr. Leitzinger’s “payment adjustment percentage” applied to gross sales in a given
quarter is calculated as the ratio of total rebate, credit, and chargeback dollars for an NDC
to total gross sales dollars, aggregated over an entire four-quarter period, covering the
three quarters immediately preceding and including the given quarter.119 The but-for
price in each quarter for each NDC is then taken as the “net price” plus the mark-up
calculated (in the above fashion) for the immediately preceding quarter. As described by
Dr. Leitzinger:

                  “For example, in order to calculate the average net price as
                  of the beginning of 2000Q1, I first aggregate price
                  concessions and gross revenue for January 1, 1999 through

118
    Leitzinger Report, p. 2. Dr. Leitzinger provides these “but-for” prices in his Exhibit 4.
119
    Dr. Leitzinger references Federal Register, September 16, 2004, Volume 69, Number 179, pp. 55763-
55765, which he describes as indicating a “convention used by the U.S. government for Medicare
reimbursement.” See Leitzinger Report, p. 9 and fn 14. In principle, one would ideally like to link specific
rebates, credits, or chargebacks to their originating transaction. However the data do not allow for this. Dr.
Leitzinger excludes from his calculations transactions types which he categorizes as “Free Goods,”
“Returns,” “Shortage,” “Service Fee,” and other uncategorized transactions. He includes transactions
which he categorizes as “Allowances,” “Rebates,” Price Adj.,” “Credit,” “Sales,” and “Chargebacks.” In
all cases where the transaction type is not categorized as “Sales,” Dr. Leitzinger sets the quantity field to
zero.

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                  December 31, 1999. I then calculate the ratio of price
                  concessions to gross revenue. This ratio then is used to
                  discount the gross price for 1999Q4. For example, if total
                  price concessions equal $100 for January 1, 1999 through
                  December 31, 1999 and total gross revenue equals $400 for
                  that same period, the ratio is 0.25. If the gross price for
                  1999Q4 is $1.00, then the net price is $0.75 (calculated as
                  $1.00 x (1-0.25)).”120


99. The $0.75 “net price” in Dr. Leitzinger’s example plus his mark-up is the but-for
price he assigns to 2000Q1.

100.      Because Medi-Cal sets its reimbursement amounts according to a standard
package size for each drug, in order to match his but-for prices with Sandoz AWPs
(Leitzinger Report, Exhibit 4), and to calculate damages, Dr. Leitzinger identifies the
NDC which he has determined serves as the “leader” NDC for each of the California
NDCs at issue, and applies the but-for price accordingly.121

      C. In Dr. Leitzinger’s But-for World, Many Pharmacies Would Lose Money on
      Sandoz Prescriptions Reimbursed by Medi-Cal
101.      Dr. Leitzinger’s but-for reimbursement prices on ingredient costs calculated with
the 3.7 to 5.4 percent mark-up would have resulted in losses to a substantial share of
pharmacies on the ingredient portion of Medi-Cal prescriptions during the relevant
period.

102.      For example, if a wholesaler purchases a drug for $10 in both 2002Q3 and
2002Q4 (net of rebates, credits and chargebacks), according to Dr. Leitzinger, the but-for
Medi-Cal reimbursement for that drug in 2002Q4 would be $10.43.122 Any pharmacy
acquiring that same drug for more than $10.43 would lose money on the ingredient cost
portion of reimbursement. These losses would be even greater when taking into account
any shortfall between the dispensing fee and pharmacists’ dispensing costs.

120
    Leitzinger Report, fn. 17.
121
    In his electronic back-up, Dr. Leitzinger has provided an Excel file called “Price Leader.xls,” which he
uses to match NDCs at issue to their “leader.” Dr. Leitzinger provided no clear indication as to the source
for this file or for how he identifies the “leader” NDC. In most cases, however, the “leader” is the 100-unit
version of the drug.
122
    As discussed above, Dr. Leitzinger’s but-for reimbursement in any quarter is based on the prior quarter’s
“net price” plus a mark-up. The 2002 mark-up applied by Dr. Leitzinger is 4.33%. In this example, I
ignore the “Standard Package size” adjustment.

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103.        I have compared these but-for prices Dr. Leitzinger calculates for each of the
Sandoz drugs at issue with the actual acquisition costs of those drugs for pharmacies
purchasing through Cardinal Health, a large pharmaceutical wholesaler. According to
my analysis, approximately 62 percent of California pharmacies would lose money on
their Medi-Cal prescriptions dispensed with the Sandoz drugs at issue, even before
accounting for any shortfall in dispensing fees. For parts of the state with few
pharmacies participating in Medi-Cal, even one pharmacy choosing not to participate in
Medi-Cal could substantially reduce patient access to prescription drugs.

104.        Reimbursement would likely still not be sufficient to cover many pharmacists’
acquisition costs on the Sandoz drugs at issue, even if reimbursed at 25 percent above the
“net price.” This is true even if the dispensing fees paid to California pharmacies were
sufficient to cover their dispensing costs, which I have shown is in fact often not the case.
I have repeated the analysis above, comparing actual ingredient reimbursements to the 25
percent margin over Dr. Leitzinger’s “net price.” I find that as many as about 31 percent
of participating pharmacies would lose money on their overall purchases of Sandoz drugs
at issue which were subsequently reimbursed by Medi-Cal, even before accounting for
any shortfall in dispensing fees.

VII. CRITIQUE OF DR. LEITZINGER’S DAMAGES ANALYSIS
       A. Introduction
105.        In analyzing damages, Dr. Leitzinger was instructed by counsel to calculate
California’s “overpayment … excluding overpayments that arise from any and all claims
where the reimbursement amount paid by Medi-Cal (total ingredient cost only) was less
than 25 percent above the average net price paid by wholesalers to Sandoz for the
relevant pharmaceutical product.”123

106.        Dr. Leitzinger fails to provide any explanation or economic justification for his 25
percent margin threshold. He apparently followed instruction of counsel. It is not
evident from Dr. Leitzinger’s report how the 25 percent threshold is interpreted.




123
      Leitzinger Report, p. 3.

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107.      In order to derive the purported ingredient cost “overpayment,” Dr. Leitzinger
first drops any claims for which the actual reimbursement was less than 25 percent above
his calculated “net price.”

108.      For the remaining claims, the “overpayment” is calculated as the difference
between the actual ingredient reimbursement (the reimbursement amount from the claims
data less the dispensing fee),124 and the amount that is 25 percent above the “net price” in
any quarter for each drug.125 Total alleged overcharges are the sum of over all relevant
drugs and quarters.

109.      In approximately 16 percent of claims, Dr. Leitzinger is unable to calculate a “net
        126
price.”       He fills in these gaps using claims for which he is able to calculate a “net
price.” Specifically, he sums up to get total overcharges and total actual reimbursement
amounts by NDC over the entire period, and he derives the ratio of overcharges to
reimbursement.127 He applies this ratio to the total reimbursement amounts for claims in
which he is unable to match a “net price.”

      B. The Evidence of an Adverse Effect on Patient Access is Reasonable
110.      Dr. Leitzinger does not analyze the impact of a lower ingredient reimbursement
on pharmacy profitability and the implications for access in his Report, as I detailed
above. He does, however, recognize it as an issue. “I understand that Dey (and its
experts) have claimed that reduced ingredient cost reimbursement would adversely affect
access by program participants to pharmacy services and that this reduction would, in
turn, lead Medi-Cal to increase the standard dispensing fee associated with
reimbursement.”128

111.      Dr. Leitzinger has stated that “economic proof” of such an adverse effect would
require: “1) the standard dispensing fees associated with Medi-Cal reimbursement during

124
    The reimbursement amount and dispensing fee are provided in the claims data in fields called
CLM_REIMBRSMNT_AMT_349 and CLM_PROFNL_FEE_AMT_381, respectively. Where the
dispensing fee is given as zero in the data, Dr. Leitzinger fills in the standard dispensing fee. See Leitzinger
Report, p. 7.
125
    The applicable “net price” is the one for the Standard Package size. Leitzinger Report, pp. 10 and 11.
126
    Leitzinger Report, p. 12. As I discuss in more detail below, the Sandoz transaction data Dr. Leitzinger
uses to calculate his “net price” does not go back before 1996. In other cases, there are NDC-quarters in
which no sales are observed in the Sandoz data.
127
    Dr. Leitzinger includes in this calculation, claims for which he found negative overcharges.
128
    Leitzinger Report, p. 13.

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the period in question here did not cover dispensing costs; 2) reimbursement of ingredient
costs at amounts that were no more than 25 percent above net manufacturer prices to
wholesalers, taken in combination with the standard dispensing fees that were paid during
the period, would not have provided overall reimbursement sufficient to induce
pharmacies to dispense Medi-Cal prescriptions; and 3) the resulting decline in the ability
of Medi-Cal participants to access prescriptions would have prompted a decision by
Medi-Cal to increase the standard dispensing fee.”129

                 1. Medi-Cal dispensing fees were generally insufficient to cover pharmacy
                 dispensing costs.
112.        With regard to Dr. Leitzinger’s first point, I have explained in detail in Section V
that there is ample evidence that dispensing fees were generally not high enough to cover
many pharmacies’ dispensing costs. A number of studies I cited above found that Medi-
Cal’s dispensing fees were not adequate to compensate many especially high-cost
pharmacies.

                 2. Dr. Leitzinger’s 25 percent margin would not be sufficient to cover losses
                 on dispensing costs for many drugs.
113.        Regarding Dr. Leitzinger’s second point, I demonstrated that the 25 percent
margin likely would provide insufficient profit over ingredient cost, particularly on low-
cost drugs, to compensate for many, if not most, per-prescription shortfalls on dispensing
costs.

114.        Margins on many low-cost drugs would likely need to be substantially greater
than 25 percent in order for pharmacies to break even on dispensing generic drugs to
Medi-Cal patients. This is because 25 percent applied to a low dollar price will result in a
low dollar ingredient cost profit. This is a particular concern in the case of many generic
drugs whose prices have been competed down to low levels.

115.        Consider the example of atenolol, NDC 00178150610, which is the top drug
reimbursed by Medi-Cal among the drugs in this matter. According to Dr. Leitzinger, the
“net price” plus a 25 percent margin per 30-pill prescription for prescriptions dispensed
from a 1000-pill package in the third quarter of 2000 would be $0.54. The average cost


129
      Leitzinger Report, p. 14.

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of acquiring these pills, according to Dr. Leitzinger’s methodology, was $0.45. Thus the
pharmacist would earn $0.09 on the ingredient cost.130

116.     However, this would fail to cover the shortfall on the dispensing fee for most
pharmacies. Assuming a $7.40 dispensing cost, as estimated in the Myers and Stauffer
study for the year 2000,131 and a $4.05 dispensing fee, the pharmacist would face a $3.35
shortfall on the dispensing cost side. The $.09 earned on the ingredient cost owing to the
25 percent allowance Dr. Leitzinger assumes, would leave the pharmacist with a $3.26
loss, which is 724% of the drug acquisition cost.

              3. Lowering ingredient cost reimbursement would have required that the
              State of California seriously consider raising dispensing fees.
117.     Regarding Dr. Leitzinger’s third point, a pharmacist’s decision as to whether or
not to participate in Medi-Cal will depend importantly on whether it earns an adequate
profit. Evidence in the record shows that the California Pharmacists Association has
lobbied California Legislators against policy proposals which they believed would
threaten their ability to remain profitable. There is evidence that California policymakers
did in fact understand the interrelationship between dispensing fees and ingredient
reimbursement, and that they have shown resistance in past to changing reimbursement
policy in light of pharmacy access concerns. Moreover, in September 2004, the
dispensing fee was raised in conjunction with an increase in the discount off of AWP.

118.     Thus, a problem of patient access stemming from lower ingredient cost
reimbursements would have required that the State of California seriously consider
raising dispensing fees.

              4. Dispensing fee shortfalls would have been substantial without higher
              ingredient margins.
119.     Eliminating pharmacy margins on the ingredient cost side, as would occur in Dr.
Leitzinger's but-for world, would require an increase in dispensing fees if pharmacy

130
    Per Exhibit 4 in Dr. Leitzinger’s report, the 2000Q3 but-for price per 1000-pill package of atenolol,
NDC 00781150610 (which Dr. Leitzinger calculates as the “net price” plus a 4.43 percent mark-up), is
$15.16, or $0.454 per 30-pill prescription. The “net price” plus a 25 percent margin is therefore equal to
$0.543 (which equals (0.454/1.0443)*1.25). Rounding to the penny, the ingredient side profit is therefore
0.54 minus 0.45 or $0.09. I note that this is conservative, for it does not account for any lump sum
reimbursement reduction under Medi-Cal’s reimbursement methodology in effect at the time.
131
    Myers and Stauffer, Pharmacy Reimbursement, p. 28.

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profitability were to be preserved. I have analyzed the Medi-Cal dispensing fees relative
to various estimates of dispensing costs, and find that as a reasonable approximation,
dispensing fee shortfalls, if not subsidized by higher ingredient margins, would have cost
participating pharmacies $35 million (Myers and Stauffer) to $81 million (Grant
Thornton) on claims at issue. Specifically, as an approximation of pharmacy dispensing
cost, I use estimates from the three separate studies I discussed in Section V, and apply an
inflation adjustment in order to arrive at dispensing costs by year. Using Medi-Cal’s
actual dispensing fees, I calculate the difference in the dispensing fee and the estimated
dispensing cost. I then aggregate these differences over all claims at issue.132

      C. Dr. Leitzinger Fails to Account for Alternate Reimbursement Methodologies
      Considered By Medi-Cal
              1. AWP was not the only benchmark available to California policy-makers.
120.     Medi-Cal’s ingredient reimbursement formula was a simple comparison of AWP
less a percent discount, the FUL, and the MAIC. Recall that the MAIC was based on
AWP, and according to one Medi-Cal representative, was not very effective.133
Moreover, Medi-Cal knew that AWP did not represent actual acquisition costs, and had
access to estimates of the difference between AWPs and actual acquisition costs.
Therefore, California policy-makers could have enhanced or altered the reimbursement
methodology applied by Medi-Cal to account for pricing benchmarks other than AWP, or
taken larger discounts off AWP.

121.     For example, WAC prices reported by FDB were available to the state of
California. California officials were aware that WAC served as a reimbursement basis in
many other states, including for example, Colorado and Maryland.134 As shown in
Exhibit 3, a simple comparison of published WACs and published AWPs – information
readily available to the State of California – reveals that WAC prices are substantially
below AWPs for Sandoz drugs.




132
    I used the Medical Care CPI, available at <ftp://ftp.bls.gov/pub/time.series/cu/cu.data.15.USMedical>,
accessed July 29, 2009.
133
    Rosenstein Deposition, pp. 140-141.
134
    Rosenstein Deposition, p. 6, Exhibits 011, 021.

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122.     Sandoz also provided, directly and/or indirectly, information on its AMPs to
Medi-Cal.135 Medi-Cal was aware that AMP also is lower than AWP,136 and information
was also available that AMP was lower than WAC.137 Therefore, in order to reduce its
reimbursement costs, California policymakers could have utilized available information
on manufacturers’ AMPs.

123.    As a third alternative, California policy-makers could have adjusted its MAIC
program so as to make it more effective. For example, California could have followed
the approach of Wisconsin, which bases its MAC prices in part on provider invoices and
information from wholesalers, and which reviews its MACs on a quarterly basis.138
Alternatively, California could have looked to Kentucky, which outsourced the setting of
MAC prices to First Health Services Corporation.139

124.    Finally, reimbursement policy could have used different reimbursement formulae
for generics versus branded drugs. I pointed out that several reports from OIG indicated
that the relationship between AWP and acquisition cost differed substantially for branded
and generic drugs. Consistent with this, a CMS report on reimbursements by state
showed that by September 2004, many other state Medicaid agencies reimbursed using
greater discounts off AWP for generic drugs than for branded drugs.140 For example,
Colorado reimbursed at AWP-13.5% for brands, but at AWP-35% for generics.
Connecticut reimbursed at AWP-12% for brands and AWP-40% for generics.141

             2. California policy-makers considered many of these alternatives.
125.    During the 1995 to 1996 timeframe, California policy-makers proposed
legislation to revise Med-Cal’s reimbursement methodology by changing the EAC


135
    AMPs were provided directly from 1991 to 1997 (SANDOZCALI3000028-1273) and indirectly through
the unit rebate amount information from CMS. AMPs were also provided with supplemental rebate
payments for certain drugs. See Miller Deposition (September 24, 2008), Exhibits 007, 010
136
    Miller Deposition (October 22, 2008), p. 317.
137
    "Medicaid Drug Price Comparisons: Average Manufacturer Price to Published Prices,” OIG, June 2005,
pp. 64.
138
    Medicaid Briefing Papers, Governors Pharmacy Reimbursement Commission, November 17, 2005 (WI-
Prod-AWP-111655-656).
139
    Since 2004, First Health Services Corporation has been administering Kentucky Medicaid’s MAC
program. See Kentucky Pharmacy MAC List, <https://kentucky.fhsc.com/Pharmacy/providers/mac.asp>,
accessed July 29, 2009.
140
    Medicaid Prescription Reimbursement Information by State, CMS, September 2004.
141
    Medicaid Prescription Reimbursement Information by State, CMS, September 2004.

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calculation to the lower of AWP-10% and WAC+7%.142 Medi-Cal was aware that a
number of other states used WAC as a basis for reimbursement.143 Subsequently, the
2000 Task Force cited above also discussed using WAC as a basis for reimbursement,
and noted that other states were using WAC.144

126.    Medi-Cal also considered different reimbursement adjustments for brand and
generic drugs.145 Mr. Rosenstein testified in reference to applying the 17 percent
discount to AWP, which represented Myers and Stauffer’s approximate estimate of the
average by which AWPs exceeded actual single-source drug acquisition costs, “… we set
this rate assuming we could do additional work on generics through a MAC.”146

127.    As part of a 2002-2003 budget trailer, the Legislature adopted a bill which
changed the calculation of MAIC prices to be based them on the “average price paid by
pharmacies to a wholesale drug distributor…” rather than on AWP. The new MAIC
methodology would have involved surveying wholesalers.147 However, the new program
was never implemented.148

128.    In sum, California policy-makers were aware of the array of alternatives to its use
of AWP as the basis of a reimbursement formula (including the possibility of applying
larger discounts to AWP), in establishing the EAC. Therefore, they could have enacted
and implemented policies to address the alleged “excessive prices” that Medi-Cal paid.149

129.    I have considered the effect of one proposal considered by Medi-Cal on Medi-
Cal’s expenditure on Sandoz drugs. As far back as at least 1995, California policy-
makers had proposed replacing the AWP-5% EAC methodology with an EAC calculated
as the minimum of WAC+7% and AWP-10%.150 In this analysis, I assume that this




142
    Rosenstein Deposition, pp. 123-133 and Exhibits 009 - 011, see also Gorospe Deposition (March 19,
2008), Exhibit 026.
143
    Rosenstein Deposition, p. 5 and Exhibit 011.
144
    Rosenstein Deposition, Exhibit 021.
145
    Rosenstein Deposition, pp. 230-232.
146
    Rosenstein Deposition, p. 231.
147
    Rosenstein Deposition, pp. 245-249 and Exhibit 028, p. 10.
148
    Gorospe Deposition (September 22, 2008), pp. 447-449.
149
    First Amended Complaint, p. 1.
150
    Rosenstein Deposition, Exhibits 009 and 010.

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proposal would have been enacted,151 effective July 1, 1996, the beginning of the
California budget fiscal year. I also assume that in September 2004, the policy would
have changed such that EAC would have been the lesser of AWP-17% and WAC+7%.

130.     Given these assumed changes to California’s reimbursement methodology, I have
recalculated what California would have reimbursed for ingredient costs on Sandoz drugs
at issue.152 Had the State of California implemented the proposal it considered in 1995, it
would have paid about $65 million less for Sandoz drugs at issue. Figure 2 shows the
distribution of the basis of payment on claims resulting from my analysis.

                                                Figure 2
                                                                Claims
                                    B asis of Payment           Percent
                                WAC plus 7%                          61%
                                FAC                                  33%
                                AWP minus disc.                       1%
                                EAC                                   0%
                                U&C                                   5%
                                Total                               100%



      D. Dr. Leitzinger Underestimates Wholesaler Mark-Ups on Generic Drugs
131.     Dr. Leitzinger’s 3.7 to 5.4 percent mark-ups used to derive his but-for price
appear to be annual average gross margins, and also apparently blend brand and generic
drugs.153 However, several studies of the pharmaceutical wholesale industry indicate that
generic margins can be several times the margins on brand.

132.     Wholesalers play a different role in the distribution of generic drugs than they do
in branded drugs. For branded drugs, wholesalers effectively act as order takers, shipping
the branded drugs ordered by their retail pharmacy customers. As such, wholesalers have
little bargaining power when negotiating with branded manufacturers. In contrast,
wholesalers can have significant bargaining power when negotiating with generic
manufacturers. Many retailers do not require a specific manufacturer’s generic drug and

151
    The proposal included other policy recommendations, including proposals to adjust the process for
supplemental rebate contracting, and adjusting reimbursement on medical supplies. I do not account for
these in this analysis.
152
    I do not consider the dispensing cost component in this analysis.
153
    Dr. Leitzinger’s sources are various years’ issues of the Industry Profile and Healthcare Handbook; See
Leitzinger Report, fn. 20.

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are willing to accept the particular AB-rated generic of the wholesaler’s choosing.
Recognizing this, wholesaler created their own buying programs to pool their retail
customers’ buying power and negotiate discounts from generic manufacturers for generic
drugs. Thus, it is reasonable to believe that wholesaler returns on generic drugs will be
higher than on branded drugs.

133.     Evidence suggests that this is, in fact the case:

             •   An October 2003 FitchRatings report states: “… distributor margins are
                 frequently three to five times greater on generic than on branded drugs.”154
             •   A JP Morgan research report states that “… generics generally provide a
                 better gross margin to the distributor than their branded counterparts.” JP
                 Morgan estimated that the gross margin on generics was generally three to
                 five times higher than for branded drugs.155
             •   A February 2002 Bear Stearns report analyzed several generic entry
                 scenarios. Pre-entry, they assume a brand gross margin of 4 to 5 percent.
                 In a scenario of exclusive entry, the resulting generic gross margin is 10 to
                 20 percent.156
134.     Generics represent a relatively small share of overall wholesaler revenue.157
Therefore, a mark-up measure based on overall product mix would be expected to be
heavily weighted toward the brand mark-ups. Thus, the evidence suggests that Dr.
Leitzinger has substantially understated wholesaler margins on generic drugs.

      E. Dr. Leitzinger’s Alleged “Overpayments” for 1994 and 1995 Are Excessive
135.     The Sandoz transaction used by Dr. Leitzinger begins in January 2, 1996, while
his damages calculations start on January 1, 1994. To deal with this missing data
problem, Dr. Leitzinger fills in the 1994 and 1995 “net prices” using the gap-filling


154
    FitchRatings, “The Generic Equation: The Emergence of Generic Pharmaceuticals and Their Impact on
Pharmaceutical Wholesalers,” October 14, 2003, p. 2. See also, 2004 McKesson Corporation Gross Annual
Report,
<http://www.mckesson.com/en_us/McKesson.com/Investors/Financial%2BInformation/Annual%2BReport
s.html>, p. 30, accessed July 28, 2009.
155
    JP Morgan, North American Equity Research, April 21, 2003, pp. 14-16.
156
    Bear Stearns, “Health Care Distribution: Analyzing the Shifts From Brands to Generics, Chains to mail
Order, Growth to Defensive?” February 2002, pp. 53-55.
157
    According to the 2004 Industry Profile and Healthcare Handbook, generic revenues were about 16
percent of distributor net prescription drug sales. See 2004 Industry Profile and Healthcare Handbook,
HDMA, p. 13. FitchRatings reports generics represent about 10 percent of distributor top-line
pharmaceutical revenue. See FitchRatings, “The Generic Equation: The Emergence of Generic
Pharmaceuticals and Their Impact on Pharmaceutical Wholesalers,” October 14, 2003, p. 2.

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methodology described above.158 However, Dr. Leitzinger applies an overcharge ratio,
which is calculated for each NDC over the entire period. This approach is inappropriate,
and exaggerates overcharges if his overcharge percentage for an NDC is increasing over
time.

136.    I have reviewed Dr. Leitzinger’s overcharge calculation on a year-by-year basis,
and find that it is generally the case his overcharge ratio has been increasing. To account
for this, I have rerun Dr. Leitzinger’s analysis where, rather than applying an average
overcharge ratio across the entire period, by NDC, I have calculated yearly average
overcharge ratios by NDC. Applying the 1996 ratio to 1994 and 1995, I find that in 1994
and 1995, “overpayments” decline by more than $4 million, or about 45 percent for those
years.159




158
    The 1994 and 1995 claims represent about 10 percent of Dr. Leitzinger’s total Medi-Cal claims, but
about 70 percent of the claims in which Dr. Leitzinger was unable to calculate a net price.
159
    Overall, this adjustment lowers “overpayments” by about $4.5 million.

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                      Exhibit 2a: California Medi-Cal Claims - Basis of Payment (1994-2004)
                                                                    Number of Claims
  Year
                          FAC                   EAC            AWP-Disc        Usual & Customary                     Other                 TOTAL
 1994                  447,291                    0                52,924                     68,945                     15             569,175
 1995                  631,346                    0                52,133                     93,088                     25             776,592
 1996                  729,286                    0                63,574                    125,762                    114             918,736
 1997                  690,233                    0               114,817                    135,539                    190             940,779
 1998                  677,774               30,659               155,264                    166,175                     32           1,029,904
 1999                  859,339               55,103               139,665                    164,208                     12           1,218,327
 2000                  953,923               46,768               178,488                    160,756                      6           1,339,941
 2001                1,058,529               38,989               224,448                    233,479                     10           1,555,455
 2002                1,168,482               61,138               237,204                    126,622                      6           1,593,452
 2003                1,253,069              257,143                   426                    132,202                      0           1,642,840
 2004                1,142,333              209,892                   711                    137,649                      0           1,490,585
TOTAL                9,611,605              699,692             1,219,654                  1,544,425                    410          13,075,786

                                                              Claims %
  Year
                          FAC                   EAC            AWP-Disc        Usual & Customary                     Other
  1994                    79%                    0%                    9%                        12%                    0%
  1995                    81%                    0%                    7%                        12%                    0%
  1996                    79%                    0%                    7%                        14%                    0%
  1997                    73%                    0%                   12%                        14%                    0%
  1998                    66%                    3%                   15%                        16%                    0%
  1999                    71%                    5%                   11%                        13%                    0%
  2000                    71%                    3%                   13%                        12%                    0%
  2001                    68%                    3%                   14%                        15%                    0%
  2002                    73%                    4%                   15%                         8%                    0%
  2003                    76%                   16%                    0%                         8%                    0%
  2004                    77%                   14%                    0%                         9%                    0%
 TOTAL                    74%                    5%                    9%                        12%                    0%
Notes:
[1] Includes claims from January 1, 1994 until December 31, 2004 based on service date field, CLNDR_DT.
[2] Claims with CLM_REIMBRMNT_AMT_349 <= 0 are dropped.
[3] The basis of payment for a claim is from the data field CLM_PMT_CLCLTN_CD_830.
[4] Usual & Customary is defined as CLM_BILL_AMT < (CLM_ALOWD_AMT_380 + CLM_PROFNL_FEE_AMT_381).
[5] The discount on AWP was 5 % until June 30, 2004, 10 % from July 1, 2004 until August 31, 2004, and 17 % from September 1, 2004 onwards.
Sources:
Medi-Cal claims data (Disc ID: 21A and 21B); Claims reversals are dropped from the data using Dr. Leitzinger's methodology.
Letter from Nicholas Paul of the California Bureau of Medi-Cal Fraud and Elder Abuse to Toni-Ann Citera of Jones Day, November 15, 2007.



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                      Exhibit 2b: California Medi-Cal Claims - Basis of Payment (1994-2004)
                                                                 Dollar Value of Claims
  Year
                        FAC                   EAC              AWP-Disc Usual & Customary                             Other             TOTAL
 1994       $      5,347,083 $                 -   $           1,909,593 $      1,630,222 $                             188 $         8,887,086
 1995       $      9,690,389 $                 -   $           1,062,540 $      2,685,738 $                             190 $        13,438,857
 1996       $     11,052,994 $                 -   $           1,657,587 $      3,866,144 $                             731 $        16,577,456
 1997       $      9,878,318 $                 -   $           2,714,692 $      4,086,992 $                           1,185 $        16,681,187
 1998       $     10,550,986 $             673,093 $           4,509,286 $      4,628,797 $                           1,256 $        20,363,418
 1999       $     13,370,924 $           1,302,274 $           6,630,511 $      5,443,097 $                           1,052 $        26,747,859
 2000       $     13,003,575 $           1,203,635 $          10,405,125 $      6,267,320 $                             740 $        30,880,394
 2001       $     14,701,655 $           1,036,058 $          13,474,493 $      7,672,234 $                             474 $        36,884,913
 2002       $     16,044,316 $           2,589,953 $          12,311,617 $      3,847,679 $                             232 $        34,793,797
 2003       $     19,122,657 $          13,809,223 $              40,651 $      3,383,104 $                             -   $        36,355,634
 2004       $     18,323,490 $          10,856,321 $              62,660 $      3,315,116 $                             -   $        32,557,586
TOTAL       $    141,086,385 $          31,470,557 $          54,778,755 $     46,826,442 $                           6,048 $       274,168,187

                                                              Dollars %
  Year
                          FAC                   EAC            AWP-Disc         Usual & Customary                     Other
  1994                    60%                    0%                21%                            18%                   0%
  1995                    72%                    0%                 8%                            20%                   0%
  1996                    67%                    0%                10%                            23%                   0%
  1997                    59%                    0%                16%                            25%                   0%
  1998                    52%                    3%                22%                            23%                   0%
  1999                    50%                    5%                25%                            20%                   0%
  2000                    42%                    4%                34%                            20%                   0%
  2001                    40%                    3%                37%                            21%                   0%
  2002                    46%                    7%                35%                            11%                   0%
  2003                    53%                   38%                 0%                             9%                   0%
  2004                    56%                   33%                 0%                            10%                   0%
 TOTAL                    51%                   11%               20%                             17%                   0%
Notes:
[1] Includes claims from January 1, 1994 until December 31, 2004 based on service date field, CLNDR_DT.
[2] Claims with CLM_REIMBRMNT_AMT_349 <= 0 are dropped.
[3] The basis of payment for a claim is from the data field CLM_PMT_CLCLTN_CD_830.
[4] Usual & Customary is defined as CLM_BILL_AMT < (CLM_ALOWD_AMT_380 + CLM_PROFNL_FEE_AMT_381).
[5] The discount on AWP was 5 % until June 30, 2004, 10 % from July 1, 2004 until August 31, 2004, and 17 % from September 1, 2004 onwards.
Sources:
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